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                    EXHIBIT X
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                     DAVID T. COURTWRIGHT




             DARK PARADISE
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                 DARK PARADISE
                 A History of Opiate Addiction in
                 America


                 David T. Courtwright




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        2

                 Addiction to Opium and
                 Morphine



     The term opiate addiction, as it has been used thus far, serves as a unifying
     concept. Like the word alcoholism, it is a way of speaking about diverse
     people who have in common their dependence on a certain drug. The aim
     of this and subsequent chapters, however, is to divide opiate addicts into
     smaller, more homogeneous classifications. The histories of these separate
     groups provide a basis for understanding the overall decline in addiction,
     as well as for explaining the transformation of the addict population.
        Nineteenth-century and early-twentieth-century opiate addicts were
     distinguished by the form of opium they used. The background of a mor-
     phine addict, for example, was different from that of an opium smoker.
     Not only was the morphine addict a "better" person in the conventional
     social sense, but he (or more likely, she) typically began using the drug for
     medical, rather than euphoric or experimental, purposes. Recognizing the
     presence of such distinct patterns of addiction, each centering on the use
     of a particular drug or drugs, is the key to organizing opiate addicts into
     more meaningful categories.
        The first pattern is addiction to opium and morphine. By opium and
     morphine I have something quite exact in mind. Opium means the dried
     milky juice of white poppy capsules, except when it has been prepared for
     smoking. (For clarity I always refer to opium in the latter form as smoking
     opium.) Morphine means the principal active alkaloid of opium, or any of
     its salts, such as morphine acetate, morphine hydrochloride, or morphine
     sulfate. It does not include diacetylmorphine or heroin, a semisynthetic
     derivative which, like smoking opium, is discussed in a separate chapter.
     When referring to opium and morphine addiction, I mean addiction to
     these substances either alone or as part of a medicinal preparation. Opium
     and morphine were commonly included in official preparations, such as
     Dover's powder or laudanum, as well as unofficial preparations, particu-
                                                                              35
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                  larly patent medicines.' While some opium and morphine addicts took
                  their drug as a pure powder or salt, others ingested it as a part of a
                  polypharmaceutical concoction. Both are considered here.
                     While there were many sources of opium and morphine addiction, four
                  were especially significant: administration by physicians, the Civil War,
                  self-dosage, and nontherapeutic usage. Prior to an examination of each of
                  these factors, it will be useful to consider the background and characteris-
                  tics of the addicts themselves. Fortunately, there is sufficient information
                  on their sex, age, race, national origin, geographic distribution, class, and
                  occupation to fashion a detailed composite portrait.


                  Characteristics of Opium and Morphine Addicts

                  The outstanding feature of nineteenth-century opium and morphine ad-
                  diction is that the majority of addicts were women. Orville Marshall's
                  1878 Michigan survey, Charles Earle's 1880 Chicago survey, and Justin
                  Hull's 1885 Iowa survey indicated that 61.2, 71.9, and 63.4 percent of
                  their respective samples were female.2 Marshall further differentiated be-
                  tween opium addicts, of whom 56.3 percent were female, and morphine
                  addicts, of whom 65.6 percent were female.' The location with the high-
                  est percentage of female addicts allegedly was Albany, where it was re-
                  ported that "fully four-fifths of the opium-eaters are women."4
                     The disproportionate number of female opium and morphine addicts
                  persisted in some places well into the twentieth century. In 1912 Charles
                  Terry reported that 68.2 percent of Jacksonville's opium and morphine
                  addicts were female; in spite of an influx of male transients, the figure at
                  the end of 1913 was still 61.0 percent female.' Tennessee's 1913 registra-
                  tion and maintenance program revealed that 66.9 percent of morphine us-
                  ers, 75.0 percent of laudanum users, and 66.7 percent of gum opium users
                  were female; in contrast, women comprised only 22.6 percent of the regis-
                  tered heroin users.° As late as 1919 a report from Memphis indicated that
                  57.0 percent of the morphine addicts in that city were female.?
                     Not every early-twentieth-century study disclosed a majority of female
                  addicts, however. Of 34 morphine addicts studied by Dr. Harry H. Drys-
                  dale in Cleveland City Hospital in 1915, 23—or 67.6 percent—were
                  male,8 Unpublished case summaries compiled by Lawrence Kolb in 1923
                  showed that 120 of 174 opium and morphine addicts were male, or 68.9
                  percent.' An even higher percentage was obtained from the records of the
                  Shreveport clinic, which indicated that 76.4 percent of the patients were
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         male." Some of this disproportion may have resulted from the itinerant
        character of many of Willis Butler's patients;" nevertheless it appears that,
        at least in some places, by 1915 to 1923 men comprised the majority of
        morphine addicts .12
           Most individuals who became addicted to opium and morphine did so
         between the ages of 25 and 45. "To no age is accorded an absolute exemp-
        tion," wrote Alonzo Calkins in 1871, "but the medium period lies be-
        tween the 30th and the 35th year." His view was shared by Charles Earle,
        who described it as "a vice of middle life."" Statistics from the Tennessee
        program confirm Earle's dating of addiction, if not his assessment of it as a
        vice. The average age at which addiction began was for males 37 years, 10
        months; for females, 37 years, 6 months. For both sexes the average age at
        time of registration was 49 years." Other studies published between 1871
        and 1922 yield somewhat lower average ages, but generally support the
        characterization of opium and morphine addiction as a condition of mid-
        dle life."
           With respect to race, whites were overrepresented among opium and
        morphine addicts, blacks underrepresented. In 1885 Dr. James D. Rob-
        erts of the Eastern North Carolina Insane Asylum, after making a number
        of inquiries, reported that he knew of "but three well authenticated cases
        of opium-eating in the negro."" In Jacksonville in 1912 and 1913 nearly
        three-quarters of the opium and morphine addicts were white, even
        though whites made up slightly less than half of that city's population."
        Lucius Brown noted that only 10 percent of Tennessee's registered addicts
        were black, even though roughly a quarter of that state's population was
        black." In Shreveport 91.5 and in Houston 95.5 of the clinic patients
        were white, remarkable statistics in view of the substantial black popula-
        tions in these areas." As late as 1923 only 7 of the 174 morphine addicts
        studied by Kolb were designated "colored."20 The single exception to the
        pattern was Chicago, where Earle's 1880 study showed blacks to be over-
        represented among opium and morphine users.2'
           Most opium and morphine addicts were also native-born. In Chicago
        73.2 percent of the addicts were listed as Americans, even though the
        native-born comprised only 59.3 percent of that city's population in 1880.
        Germans, Irish, English, and Scandinavians were all underrepresented
        among Chicago addicts; only the Scots were overrepresented.22 An 1887
        study of 12 morphine addicts in the Pennsylvania Hospital for the Insane
        showed all to be of American birth.23 Finally, case summaries published in
        Drysdale's 1915 Cleveland study also indicated that the foreign-born were
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              underrepresented among morphine addicts.24 With the exception of Chi-
              nese opium smokers (to be discussed later), immigrants contributed rela-
              tively little to the incidence of opiate addiction in America.
                 In geographic terms, opium and morphine addicts were concentrated in
              the South. Table 2 shows the number of addicts attending narcotic clinics
              in 34 cities between 1919 and 1924. Most, though not all, of these addicts
              used opium or morphine. The 23 northern and western cities averaged
              0.93 addict per thousand, while the 11 southern cities25 averaged 1.53
              addicts per thousand persons—a rate 64.5 percent higher. Maintenance
              programs in Jacksonville and Tennessee also produced addiction rates in
              excess of the northern and western average.
                 Further evidence for higher southern use is found in pharmacy records.
              A survey of the records of 34 Boston drug stores published in 1888 re-
              vealed that of 10,200 prescriptions sampled, 1,481 (14.5 percent) con-
              tained some type of opiate.26 Unfortunately, there was no comparable
              study of prescriptions for a major southern city. I have, however, located
              and sampled the contents of two surviving New Orleans pharmacists' rec-
              ord books, dating from the late 1870s and 1880s. Fully 24.5 percent of
              these prescriptions contained opium or morphine, 10 percentage points
              more than the Boston average.27 While a limited, two-city comparison
              does not prove that an entire region had a higher rate of addiction, it at
              least corroborates the differences indicated by clinic registration.
                 One important implication of the higher southern clinic and pharmacy
              figures is that southern whites ran the greatest risk of opium and morphine
              addiction of any regional racial group. Since southern blacks had a very
              low rate of addiction, and since blacks made up roughly a third of the
              postbellum southern population,28 it follows that, to account for the low
              black rate, southern whites must have had a rate even higher than their re-
              gional average.
                 A second question bearing on the geographic distribution of opium and
              morphine addicts is whether they were situated in urban or rural areas.
              Contemporaries offered two competing theories. The first, advanced as
              early as 1869, held that addiction was concentrated in larger cities, where
              the demand for "stimulants" was proportionately greater.29 This view, en-
              dorsed by several prominent specialists, was opposed by Thomas S. Blair, a
              physician and drug control officer who made a careful study of addiction
              in Pennsylvania. In 1919 he observed that although there was little addic-
              tion among active farmers, there was a good deal of addiction among
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      retired farmers, invalids on the farms, tenants, domestic farm help,
      and the much-harassed farmers' wives . . . Our reports . . . , while
      showing less free use of narcotics in rural communities than formerly,
      do very positively show a per capita consumption of opiates in the
      small towns and villages adjacent to the farms where the drugs are se-
      cured from physicians or on prescription, very far in excess of the per
      capita consumption in the large cities.30

    Morphine use in Pennsylvania, Blair later reported, was concentrated as
    follows: towns with populations ranging from 1,000 to 30,000 had the
    highest per capita consumption, followed by cities of 30,000 to 100,000,
    and finally by Philadelphia and Pittsburgh, which had the lowest per capita
    consumption of all."
       Unfortunately, data drawn from surveys and maintenance programs
    outside Pennsylvania provide no clear-cut resolution of the controversy. In
    his Michigan survey, Marshall tabulated the number of opium and mor-
    phine addicts per town, together with the town's population.32 Although
    the survey canvassed no large cities, it did include 96 locations ranging in
    population from 315 to 10,235. The statistical relation between rate of
    addiction and town size is exceedingly weak, however, with virtually zero
    correlation between the two variables. An analysis of the clinic data in Ta-
    ble 2 yields somewhat similar results; adjusting for regional differences,
    there is a negative relation between the rate of addiction and city size, but
    it is not pronounced (see Appendix). Opium and morphine addicts, in
    short, seem to have been well distributed with respect to urban and rural
    areas.
       "While all classes of people are to be found in the ranks of morphine
    addiction," wrote addiction specialist Charles B. Pearson in 1918, "the
    better class of the native American stock seem to be the most suscepti-
    ble."33 Pearson's remark summarizes a half-century of medical testimony;
    there was a consensus that opium and morphine addicts were concen-
    trated in the upper and middle classes.34 Evidence of a statistical nature is
    scant, but what there is generally supports Pearson's view. In 1889 Dr.
    Benjamin H. Hartwell asked Massachusetts pharmacists and physicians
    which classes of people in their communities used opium or its prepara-
    tions. The 446 pharmacists answered as follows: 22 percent, all classes; 22
    percent, middle classes; 7 percent, upper classes; 7 percent, lower classes;
    11 percent, "do not know of any who use opium"; and 31 percent, "do
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              not know" or some other answer. The answers of the 166 physicians were
              30 percent, all classes; 22 percent, upper; 12 percent, upper and middle; 8
              percent, middle; 6 percent, lower; 14 percent, "nervous women"; and 8
              percent, "do not know."35 While Hartwell was counting questionnaires,
              Virgil G. Eaton was thumbing through the prescription records of 34
              Boston drug stores. He observed that a drug store with a distinctly upper-
              class clientele had more prescriptions containing opium or morphine
              (16.3 percent) than stores patronized by "poorer people" or "poor Italian
              laborers" (12.0 and 10.7 percent, respectively).36 Evidently American la-
              borers and factory operatives did not take to opium and morphine with
              the enthusiasm of their English counterparts.37
                 In addition to strictly statistical evidence, contemporary accounts
              abound with allusions to addicts of refinement and position; their plight
              served to drive home the point that addiction was, as Charles B. Towns
              put it, "no respecter of persons."38 Discreet references tantalize: Who
              were the several congressmen and senators whom Washington physician
              D. Percy Hickling supplied with opium, or the congressman-addict who
              resorted to opium to bolster his oratorical efforts? Who was Mrs. E. D. P.,
              sister of a governor and U.S. senator, mentioned by pamphleteer Edward
              Sell as a former addict, or the brilliant and famous inventor cited by Clyde
              Langston Eddy?39 In some cases we know the identities of famous addicts,
              principally because their medical histories (or those of their families) have
              been closely studied. Benjamin Franklin and John Randolph, for example,
              almost certainly became dependent upon opium in their declining days,
              while Harriet Beecher Stowe's daughter, Georgiana, became addicted to
              morphine following a sudden nervous prostration." Letters and diaries
              occasionally provide clues about the use of these drugs in prominent fami-
              lies. Correspondence by Jefferson Davis' female relatives reveals how com-
              monly opium preparations were resorted to for illness, as do the diaries of
              Confederate aristocrats Mary Boykin Chesnut and William Pitt Bailin-
              ger.c Henry S. Lane, a man of similar pharmaceutical practices if dissimilar
              political views, noted in his journal that he dosed himself with opium for
              the "cramp cholic" he suffered during the Mexican War.42 Of course not
              all opium and morphine addicts were rich or distinguished—or even mid-
              dle class; prostitutes and criminals used these drugs as well. Prior to 1900,
              however, opium and morphine addiction was primarily an upper-class and
              middle-class phenomenon.
                 The most common occupation among female addicts was that of house-
              wife. The majority of nineteenth-century female addicts were married
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     and therefore stayed at home. Unmarried female addicts were observed
     among domestics, teachers, actresses, and especially prostitutes.43 Another
     type, mentioned as early as 1832, was the harried society lady, who
     downed opium or morphine to steady her nerve and enhance her wit.44
    Women associated with the medical profession—nurses and doctors'
    wives—also had an unusually high rate of addiction."
       Among male addicts the leading occupation was unquestionably that of
    physician; sources differ only on how large a percentage of the medical
    profession was addicted. The most widely quoted estimate was that of
    Thomas Davison Crothers. Based on a study of 3,244 physicians, he con-
    cluded that "from six to ten percent [of the physicians] in this country are
    opium inebriates."46 Thomas J. Happel thought the figure even higher. "I
    find," he wrote in 1900, "in a list of the names of one hundred and four-
    teen physicians . . . eighteen who became addicted to morphine—nearly
    16 percent."47 In 1913 Bittle C. Keister announced to a startled audience
    that fully 23 percent of the medical profession were victims of morphine
    addiction." Asylum records, although they cannot be used to establish an
    exact percentage, on the whole support charges that physicians had a seri-
    ous addiction problem.49 Country doctors, with their especially arduous
    routine, were said to have made up a disproportionate share of physician-
    addicts.50 However, no stratum of the profession was exempt; cases of
    physician-addicts as eminent as William S. Halsted, pioneering surgeon
    and professor at Johns Hopkins, have been documented.5' Members of
    the allied health professions, notably dentists and pharmacists, also had a
    high rate of addiction.52
       "Brain workers" and "professional men" were other occupational cate-
    gories frequently cited in connection with opium and morphine addic-
    tion.53 Data on white-collar addiction is sketchy, however. Businessmen,
    lawyers, clerks, clergymen, and the like are mentioned in surveys,54 but in
    such a way that it is impossible to tell precisely how many of their number
    were addicted. Among male occupations with a low rate of addiction,
    sailors were prominently mentioned. Cut off for months or years at a time
    from a regular supply of opiates, it is unlikely that many of their num-
    ber became addicted.55 Active farmers and skilled and semiskilled workers
    were also cited as low-addiction groups, although the exact rates are not
    known.56
       There is, by way of summing up, a character in Harper Lee's novel To
    Kill a Mockingbird named Mrs. Henry Lafayette Dubose. Mrs. Dubose is
    a propertied and cantankerous widow residing in a small Alabama town.
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                  She is also a morphine addict, having become addicted years ago as a con-
                  sequence of a chronic, painful condition. Informed that she has only a
                  short while to live, she struggles to quit taking the drug, for she is deter-
                  mined to "leave this world beholden to nothing and nobody."57 Although
                  fictitious, Mrs. Dubose personifies the American opium or morphine ad-
                  dict of the late nineteenth and early twentieth centuries. If all of the fore-
                  going statistics were condensed into a single, modal type, it would closely
                  resemble Mrs. Dubose: a native Southerner, possessed of servant and
                  property, once married, now widowed and homebound, evidently ad-
                  dicted since late middle age. In all respects her sex, age of addiction,
                  race, nationality, region, class, and occupation (or lack thereof)—she is
                  typical. Typical, too, is the origin of her condition: she was addicted by her
                  physician.


                  Medical Administration

                  The administration of opium and morphine by physicians was the leading
                  cause of addiction in the nineteenth century, and the principal reason
                  opium and morphine addiction assumed the pattern just described. Esti-
                  mates of the number of opium and morphine addicts who could trace
                  their plight back to their doctor ranged from a simple majority to 99 per-
                  cent.55 The problem became particularly acute with the spread of hypoder-
                  mic medication during the 1860s and 1870s, when morphine injection
                  became a virtual panacea. In spite of repeated warnings, therapeutically
                  engendered addiction remained a serious problem until the early twenti-
                  eth century, when the American medical profession largely abandoned its
                  liberal use of opium and morphine.
                     Before tracing in detail the course of iatrogenic addiction, I need to
                  qualify one term, physician. When I speak of physicians causing or contrib-
                  uting to addiction, I refer to regular practitioners. Sectarian practitioners,
                  thanks to their distinctive therapeutic regimens, seldom addicted anyone.
                  Thomsonians denounced the use of opium; their successors, the eclectics,
                  used it, but with circumspection; the homeopaths believed that opiates, as
                  all drugs, should be administered only in minuscule amounts.59 Hydropa-
                  thy, osteopathy, chiropractic, and Christian Science all advocated drugless
                  therapy.60 Regular practitioners, on the other hand, freely used drugs, in-
                  cluding opium and morphine, throughout the period.61 It is on the regu-
                  lars, therefore, that I intend to focus.
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           The therapeutic use of opium was passed down to the American physi-
        cian as an ancient and honorable practice, sanctioned by the greatest medi-
        cal authorities over many centuries.62 The drug had been employed by
        figures no less illustrious than Galen (A.D. 130-201), Paracelsus (1493-
        1541), Franz de la Boe (1614-1675), Thomas Sydenham (1624-1689),
        Herman Boerhaave (1668-1738), and John Brown (1735-1788).63 The
        basis for opium's lasting popularity is not its curative power, but rather its
        analgesic properties. No other naturally occurring drug can match it as an
        anodyne, a fact recognized by even the most skeptical contemporaries.
       When Oliver Wendell Holmes, Sr., made his famous remark, "I firmly be-
        lieve that if the whole materia medica, as now used, could be sunk to the
        bottom of the sea, it would be all the better for mankind,—and all the
       worse for the fishes," he specifically exempted opium, a medicine "which
        the Creator himself seems to prescribe."64
           The therapeutic use of opium was common in colonial America,65 al-
       though one cannot even begin to estimate the total amount dispensed.
       During the eighteenth century the drug was given to dull pain, induce
       sleep, control insanity, alleviate cough, check diarrhea, and treat a wide
       range of communicable diseases, including malaria, smallpox, syphilis, and
       tuberculosis.66 In 1785 an American physician, John Leigh, captured the
       Harveian Prize with his study, An Experimental Inquiry into the Properties
        of Opium and Its Effects on Living Subjects. Leigh's list of indications was
       typically long and comprehensive, and he ended it with the observation
       that opium also served "to afford much relief to the various spasmodic
       symptoms of dyspepsia, hysteria, hypochondriasis, asthma, & c & c." 67
       The inclusion of psychosomatic disorders and the use of the double et cet-
       era is revealing; it is almost as if he appended to his statement "and virtu-
       ally any other distressing or painful mental or physical condition."
           When available, opium was used by Continental Army physicians to
       treat sick and wounded soldiers during the Revolutionary War. British
       forces made use of the drug as well. The military demand, together with
       the disruption of trade, dried up the regular supply—a situation that
       alarmed civilian practitioners. "Opium is an article," wrote Dr. Thaddeus
       Betts in 1778, "which no physician ought ever to want; it is so extensively
       useful, and in cases so perilous and urgent, where no substitute will supply
       its defect, that physic . . would be lame and deficient without it." Betts
       met the crisis by growing and harvesting his own poppies, a practice he
       strongly recommended to his colleagues.65
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                   Some eighteenth-century American physicians had other cause to worry
                 about sources of supply: they themselves were opium addicts. Dr. James
                 Hurlbut (1717-4 794 ), for example,
                   would not prescribe or even look at a patient in the last years of his
                   life, till the full bottle of spirits was placed in his entire control, and
                   daily replenished; it was his practice to take very frequently small po-
                   tations, and at the same time swallow enormous quantities of opium.
                   For many of his last years all the avails of his medical practice were ex-
                   pended in the purchase of this one drug; his spirits he obtained from
                   his employers, which was a heavy tax, and he probably took as much
                   opium as the most devoted Turk.69
                 Recorded cases are scarce, but there is at least one other, cited in 1803 by
                 Benjamin Rush, of a German physician in Pennsylvania who became de-
                 ranged through continuous use." There are also a few sketchy case histo-
                 ries of laymen addicted during the eighteenth century, mostly for medical
                 reasons.71 On the whole, however, there is nothing to indicate that opium
                 addiction was a widespread problem; at least there was no great outcry in
                 the medical literature. In the letter mentioning the Pennsylvania physician,
                 Rush remarked that he had been acquainted with but two other addicts
                 during the previous ten years."
                    Opium remained a popular therapeutic agent throughout the first half
                 of the nineteenth century. When Alexander Hamilton lay dying, a bullet
                 lodged in his shattered spine, it was for the laudanum bottle that his physi-
                 cian instinctively reached to alleviate his patient's suffering.73 When Con-
                 necticut physician Vine Utley was confronted with a double epidemic of
                 pneumonia and typhus fever in 1812-1813, he resorted to the lancet and
                 liberal doses of opium. "From the beginning," Utley explained, "I did not
                 hesitate as to the most earnest and judicious principles to follow in the ar-
                 duous task of combating the prevailing epidemic, for I had long ago
                 adopted the American theory (ie) 'to prescribe for the symptoms without
                 being solicitous to give the disease a name."74
                    Lesser afflictions were treated with opium as well; Nathaniel Chapman,
                 author of the first systematic treatise on pharmacology published in the
                 United States (1817), judged it the most useful drug in the materia
                 medica, "there being scarcely one morbid affection or disordered condi-
                 tion, in which, under certain circumstances, it is not exhibited, either
                 alone, or in combination."75 Opium's continued popularity was due in
                 part to the Brownian cast of American medicine in the early nineteenth
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       century. The influential Scottish physician John Brown held that diseases
       were of two types: sthenic, resulting from too much stimulus, and asthenic,
       resulting from too little. The latter could be cured by administering stimu-
       lants, notably opium and alcohol, to restore the body to its proper level of
       excitability.76 Not every American physician held with Brown that opium
       was a stimulant; Valentine Seaman, for one, argued that opium acted as a
      sedative.77 Whatever their opinion of opium's essential properties, most
      American physicians shared Brown's enthusiasm for the drug; by 1834
       it was ranked as the single most widely prescribed item in the materia
       medica.78
          Opium's principal alkaloid, morphine, was also employed after the
       method for its isolation was published in 1817.79 Morphine crystals had
      definite advantages; they were pure and of consistent potency, qualities
      imported opium often lacked." Nevertheless, morphine did not supplant
      opium as the therapeutic opiate of choice until the spread of hypodermic
      medication during the 1860s and 1870s. Not only did morphine cost
      more, but, as one student shrewdly observed, doctors "never . . abandon
      an article whose virtues are known, and universally acknowledged, for one
      not yet proved, but just introduced.”"
          Although there was as yet no ground for criticizing professional overuse
      of morphine, a number of writers began commenting on the injudicious
      use of opium.82 Prior to 1830 much of the literature on opium was con-
      cerned with overdose and its treatment, but after that date opium addic-
      tion was discussed more and more frequently." In 1841, for example, a
      Mr. M'Gowan read a paper before the Temperance Society of the College
      of Physicians and Surgeons of the University of the State of New York,
      charging that there were 3,000 to 5,000 habitual opium users in New
      York City alone." While the accuracy of M'Gowan's statistics may be
      questioned, the fears he voiced were genuine and seem to have been
      shared by a growing number of American physicians.
          The newfound concern expressed between 1830 and 1860 suggests
      that something happened during those decades to increase the rate of ad-
      diction, or at least to make the problem more visible. One possible expla-
      nation involves a series of severe epidemics that struck the United States:
      cholera in 1832-1833, dysentery from 1847 to 1851, and cholera again
      between 1848 and 1854. Cholera and dysentery, diseases that afflicted
      thousands of persons, were routinely treated with opiates," and it seems
      reasonable to suppose that some exhausted survivors continued the medi-
      cation long enough to become addicted. Certainly this is consistent with
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                   the sharp increase in crude opium imports observed in the late 1840s (see
                   Figure 2), when both cholera and dysentery were prevalent although, as
                   noted earlier, this increase was also partly due to changes in tariff policy. In
                   any event opium addiction, whether from treatment of epidemic disease or
                   some other factor, ceased to be regarded as a relative curiosity and by
                   1860 had assumed the status of a significant medical problem.
                      Problem became crisis during 1860 to 1880. Two events, the Civil War
                   and the spread of hypodermic medication, triggered a massive increase in
                   iatrogenic opium and especially morphine addiction. For simplicity I here
                   consider only hypodermic medication, as practiced by civilian doctors
                   upon civilian patients; the impact of the Civil War, a subject about which
                   there is some controversy, will be discussed later.
                      Like any other new device, the hypodermic syringe (first brought to
                   America in 1856) was greeted with skepticism." But the writings of An-
                   toine Ruppaner, Roberts Bartholow, and others, plus the firsthand experi-
                   ence of some physicians with it during the Civil War, helped persuade the
                   profession of the value of the instrument.87 Promoters also played upon
                   professional insecurities, noting that practitioners of standing were quick
                   to avail themselves of the advantages of the syringe and implying that
                   those who did not were in danger of falling behind." The percentage of
                   American physicians who practiced hypodermic medication grew dramati-
                   cally during the 1870s; by 1881 virtually every American physician pos-
                   sessed the instrument.89
                      The hypodermic syringe was developed for the purpose of injecting
                   morphine, and this proved to be its most popular use during the nine-
                   teenth century.9° Morphine injected hypodermically avoided the unpleas-
                   ant gastric side effects of opiates administered orally;91 it also produced
                   stronger feelings of relief and euphoria, and it produced them much more
                   quicldy. New Orleans surgeon Charles Schuppert, called upon to treat a
                   man wounded in a barroom fray, vividly described the strength and rapid-
                   ity with which an injection of morphine worked. "I was immediately sum-
                   moned," he noted in his casebook, "and on my arrival . . found him in a
                   deep stupor from the effects of liquor and bleeding profusely. I gave him
                   an injection of morphine subcutaneously of 12/ grain, this acted like a
                   charm, as he came to in a minute from the stupor he was in and rested very
                   easy."92
                      Although effective in the short run, such treatment enhanced the likeli-
                   hood of addiction in several ways. The patient, instantly reinforced by
                   the relief of pain and infused with a sense of well-being, would have re-
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        membered the wonderful effect of the drug administered in this way and
        would likely have requested the same treatment in the future, particularly
        if he suffered from a chronic disease and experienced recurring pain. The
        physician, for his part, was also reinforced by the injection. His patient re-
        sponded quickly; pain disappeared and mood improved. Praise was effu-
       sive and patronage continued. More important still was the sense, which
        must have been precious for the frustrated nineteenth-century physician,
        that he could at last do something for the patient; for the first time in the
        entire history of medicine near-instantaneous, symptomatic relief for a
       wide range of diseases was possible. A syringe of morphine was, in a very
        real sense, a magic wand. Though it could cure little, it could relieve any-
        thing; doctors and patients alike were tempted to overuse.
           I do not mean to imply, however, that all patients who received mor-
       phine injections subsequently became addicted. Why some succumbed
       and others did not is an interesting and potentially controversial ques-
       tion. Rather than postulate personality defects or endorphin deficiencies in
       those who became addicts, as some authors do, I propose that the circum-
       stances of administration plus the nature of the patient's illness were the
       most important factors in determining who became addicted.93 In order
       to become addicted to an opiate, one must first become physically depen-
       dent, that is, experience withdrawal symptoms if the drug is discontinued.
       In order to become physically dependent, one must consume the drug
       continuously over a period of time, perhaps 10 to 14 days.94 Ideally, then,
       to avoid iatrogenic addiction, measures should be taken to ensure that
       opiates are administered as infrequently as possible.95 Nineteenth-century
       physicians seldom achieved this ideal. If they did not by repeated adminis-
       tration addict the patient themselves, they often made addiction possible
       by leaving morphine and syringe with the patient or the patient's family,
       with instructions to use as needed for pain.96 Nothing prevented the pa-
       tient from increasing the frequency and amount of the dose on his own
       initiative. Another practice that heightened the risk of addiction was men-
       tioning the name of the pleasing anodyne the patient was receiving. This
       information was dangerous for several reasons. First, if dependence re-
       sulted, addiction might still have been avoided if the patient was unaware
       that his withdrawal distress resulted from the absence of morphine and
       thought his discomfort a sequel to his illness; on the other hand, if the
       physician failed to disguise the medication, and the patient learned that he
       could alleviate withdrawal distress simply by continuing the morphine, ad-
       diction was bound to occur.97 Another danger, particularly acute in the
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                 nineteenth century, when morphine and other opiates were freely avail-
                 able, was that the patient, if he knew what he was taking, could supple-
                 ment the prescribed dose, or continue to consume the drug after the phy-
                 sician had ceased prescribing it.98 These risks were compounded if the
                 patient suffered from a chronic disease. For physical dependence will soon
                 develop if, as soon as an injection wears off, symptoms recur and the pa-
                 tient's doctor or the patient himself immediately administers more of
                 the drug.99
                    Case histories, clinical notes, and remarks in the medical literature sup-
                 port the view that although opium and morphine were ultimately given
                 for practically everything, even for such unlikely disorders as masturba-
                 tion, photophobia, nymphomania, and "violent hiccough,"10° it was prin-
                 cipally in those suffering from chronic ailments that use of these drugs led
                 to addiction. Those afflicted with neuralgia seemed especially prone to
                 addiction, as morphine was commonly employed to treat neuralgic at-
                 tacks."' Another common recurring nervous disorder, headache, was also
                 treated with opium and morphine.102 Women suffering from "female com-
                 plaints," particularly dysmenorrhea, were similarly dosed. "Uterine and
                 ovarian complications," wrote one observer, "cause more ladies to fall into
                 the habit, than all other diseases combined." As late as 1908 the State
                 Hospital at Independence, Iowa, reported that most of the female addicts
                 became addicted through palliation of dysmenorrhea.103 Alcoholics seek-
                 ing relief from hangover or delirium tremens often became addicted.1°`n
                 Patients suffering from chronic respiratory disorders (asthma, bronchitis,
                 tuberculosis) or infectious diseases of long duration, especially chronic di-
                 arrhea, dysentery, malaria, or syphilis, were also likely candidates."' Other
                 addicts had histories of rheumatism.106 Postoperative syndromes, such as
                 neuroma, took their toll.107 Finally, it was often mentioned that insomnia,
                 anxiety, and fatigue resulting from overwork could, if treated with opium
                 or morphine, easily lead to addiction."'
                    The fact that the overwhelming majority of opium and morphine ad-
                 dicts suffered from one or more of these conditions goes far toward ex-
                 plaining why certain groups had an elevated incidence of addiction. The
                 higher rate of women derives, in part, from the prevalence of dysmenor-
                 rhea and other gynecological disorders. The habit of middle-class and
                 upper-class females' complaining of (or of being diagnosed by male doc-
                 tors as suffering from) "diseases of a nervous character" could only have
                 aggravated the problem.109 The onset of opium and morphine addiction in
                 middle age or later is also partially attributable to the nature of these disor-
                 ders; it is unlikely that there were too many patients under the age of 25
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       suffering from arthritis, delirium tremens, chronic headache, bronchitis,
       and the like. The age factor may also help to explain the lower black addic-
       tion rate, as relatively fewer blacks lived long enough to develop the
       chronic diseases associated with aging.'" Of even greater importance was
       the fact that, owing to poverty, discrimination, and a lack of physicians of
       their own race, many blacks were prevented from seeking professional
       medical care." It is possible that the inaccessibility of doctors worsened
       the already high mortality rate of blacks, but at least it spared them the risk
       of iatrogenic opium and morphine addiction. Southern whites, on the
      other hand, did have access to drug-dispensing physicians and, of equal
      importance, were often afflicted with malarial and diarrheal diseases. The
      presence of these endemic diseases, together with the lingering trauma of
      the Civil War, ensured that Southerners would suffer a higher rate of ad-
      diction."
          There were, by contrast, fewer candidates for addiction among north-
      ern immigrants. Lack of funds for professional medical care undoubtedly
      played a role; the weeding out of the weak and the chronically ill by
      the Atlantic passage may have been an additional factor. As Oscar Handlin
      put it, "The crossing in all its phases was a harsh and brutal filter." Most of
      the immigrants who passed through the filter, moreover, were male, and
      men tended to have a lower rate of addiction, at least in the nineteenth
      century." Similar circumstances may have protected native farmers and
      industrial workers. These groups too were predominantly male; they did
      not have a great deal of money to spend on doctors; and it was unlikely
      that many seriously or chronically ill persons were able to pursue such
      active callings. Finally, the widespread use of opium and morphine as
      tranquilizing and somniferous agents helps explain why so many physi-
      cians and other health professionals became addicted. Long and irregu-
      lar hours, stiff competition, and constant pressure from impatient pa-
      tients sorely tempted the physician to treat his headache or insomnia
      with opium or especially morphine, a drug that he knew to be quick, effec-
      tive, and readily available."4 As many as 12,000 physicians were addicted
      in this way, a professional pandemic that struck some as a kind of ironic
      justice."
         The creation of addicts through the hypodermic administration or self-
      administration of morphine for stress or chronic illness continued un-
      abated until the late 1890s. This prolonged, excessive use of morphine was
      made all the more remarkable by the fact that, beginning in 1870 and con-
      tinuing through the 1880s and 1890s, warnings about the possibility
      of iatrogenic morphine addiction appeared in numerous books, journal
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               articles, and published speeches." The physician was cautioned, often
               sharply, that the drug should be used sparingly, avoided in chronic cases,
               disguised if possible, never refilled without permission, and above all that
               the patient should never be left with a syringe and a supply of morphine
               with instructions for self-medication.117 These animadversions were rein-
               forced by a growing body of European addiction literature, in which Eng-
               lish, French, and German doctors decried similar abuses in their own
               countries." Why then, in spite of numerous warnings, did American phy-
               sicians persist in creating addicts?
                  Critics of the profession charged that a major source of continued abuse
               was inadequate medical education. Not only was the graduate of a typical
               proprietary school ill-informed about the danger of repeated administra-
               tion of opiates, but his general lack of diagnostic skills tempted him to fall
               back on blind, symptomatic treatment.H9 Ignorance combined with indo-
               lence was doubly dangerous. "When a doctor is called near a patient com-
               plaining of pains," wrote one experienced physician, "and he does not
               want to bother about making a diagnosis, or he wants to go fishing, he
               simply resorts to the ever-ready hypodermic of Morph. Sulp. 1/4 grain."
               Another summed up: "Opium is often the lazy physician's remedy."120 In a
               sense the indolent or incompetent practitioner was like the carrier of a
               communicable disease; though not necessarily himself an addict, he might
               succeed in transmitting addiction to patients with whom he came into
               contact. Thus the number of addicts in a given place hinged, in part, on
               the training and conscientiousness of the local practitioner, a fact that
               helps explain the apparently random distribution of addicts in the Michi-
               gan towns surveyed.'2'
                  In addition to laziness and incompetence, greed was cited as a reason
               for continued abuse. When a "physician is called for the first time to a well-
               to-do home," observed one group of skeptical pharmacists, he realizes
               that "a practice might be secured which would be valuable if he can only
               show his ability, and he does—there is not very much pain in the prick of
               a needle, and the result is so quick, so calming—wonderful man,—the
               patient begins to improve at once."122 The upper-class background of
               many addicts is certainly consistent with the allegation that some doctors
               courted the wealthy client with a little morphine. Even worse, it was com-
               mon practice for "quack cure joints" to offer 10 to 20 percent kickbacks
               for referring addicted patients.123 The utterly unscrupulous practitioner
               could realize a handsome profit by addicting patients and then having
               them trek from one asylum to another—asylums with which he had an ar-
               rangement.
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         To the vast majority of physicians, of course, such practices were un-
      thinkable. In fairness, too, it should be pointed out that there were formi-
      dable pressures acting on the individual physician to disregard the warn-
     ings and proceed as he had before. Simple distance, rather than laziness or
     incompetence, prompted many doctors to leave opium or morphine with
     the patient.124 Before the automotive age it was practically impossible,
      especially in the countryside, for the physician to administer every dose
     himself, as the learned journals were admonishing. Moreover, doctors
     were often under tremendous pressure from patients and their families
     to continue the treatment indefinitely; it felt good, it relieved the pain.
     "Most impatiently did she await the injection," wrote one physician of a
     neuralgic female, "always exclaiming, as I entered 'Oh doctor, shoot me
     quick!'"us Complicating matters further was the doctor's knowledge that,
     if he did not "shoot quick," a competitor would, thereby gaining a pa-
     tient."26 Or the patient might simply persuade a druggist to refill the pre-
     scription without the physician's knowledge. Nineteenth-century pharma-
     cists were notorious for their willingness to supply a user; opium and
     morphine were their bread and butter, and there is no steadier customer
     than an addict. "There are druggists in Houston, now," complained Dr.
     Newton J. Phenix in 1896, "making a living selling narcotics."127 Con-
     fessed a New York apothecary, "If it were not for this stuff [morphine] and
     my soda-water I might as well shut up shop."128 The efforts of even the
     most conscientious physicians to check repeated administration were thus
     undermined.
        It was not until the years 1895 to 1910 that physicians managed to slow
     and then reverse altogether the growth of iatrogenic morphine addiction.
     Underlying this change was the growing acceptance of the germ theory of
     disease,129 an event that had several important and interrelated conse-
     quences. Public health measures, reinforced and rationalized by the new
     bacteriology, reduced the incidence of gastrointestinal disorders, such as
     diarrhea and dysentery, for which opium and morphine had been freely
     given.'" Vaccination, as against typhoid fever (1896), or chemotherapy, as
     against syphilis (1909), began to provide effective alternatives to opium
     and morphine for a few diseases. Moreover, the achievement of greater di-
     agnostic precision, made possible by the discovery and classification of
     pathogenic microorganisms and by the development of new techniques,
     such as x-radiation, discouraged the unthinking palliation of disease; doc-
     tors who shot first and asked questions later were increasingly criticized for
     masking the symptoms of illnesses otherwise diagnosable and treatable.
        In the event symptomatic relief was still indicated, a host of new and less
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                dangerous anodynes became available. The introduction of milder analge-
                sics, the salicyclates and aniline and pyrazolone derivatives, constitutes the
                second major reason for the decline of iatrogenic opium and morphine ad-
                diction. Although these antipyretics were originally introduced for the
                purpose of reducing fever, their pain-relieving qualities soon became ap-
                parent, and in 1889 James F. A. Adams published an important article in
                the Boston Medical and Surgical Journal urging their wholesale substitu-
                tion for opiates.'" A decade later Adams' proposal, which had already won
                a number of adherents,'32 received an important impetus with the acci-
                dental discovery of the analgesic properties of aspirin in 1899. The intro-
                duction of this common household drug, highly effective against head,
                muscle, and joint aches, undoubtedly saved thousands of persons from be-
                coming addicted to opium or morphine.
                   Reinforcing the growth of narcotic conservatism brought about by bac-
                teriological advances and the availability of safer analgesics were the stern
                injunctions against the liberal use of morphine issued by a new generation
                of medical educators. During the 1890s warnings previously confined to
                medical journals began percolating into medical curricula. Advice offered
                in one generation of textbooks was frequently contradicted in the next, as
                seen in the writings of two famous American gynecologists, William H.
                Byford and his son, Henry T. Byford. In his 1865 text, The Practice of
                Medicine and Surgery Applied to the Diseases and Accidents Incident to
                 Women, the elder Byford counseled the use of opium in dysmenorrhea
                as a part of an "energetic palliative treatment," standard practice for the
                time.133 However, in the 1898 American Text-Book of Gynecology, co-
                authored by the younger Byford, this course was condemned in the stron-
                gest possible terms: "He who is compelled to resort frequently to opium
                and stimulants in dysmenorrhea, must be considered devoid in diagnostic
                ability, and consequently ought not to be entrusted with the management
                of such cases."'" Similar sentiments were expressed by neurologist Wil-
                liam J. Herdman. "I have not failed in my attempt," he remarked in 1902,
                "to impress on the minds of my students how unwise is the indiscriminate
                use of these powerful drugs."135 Other commentators directed their mes-
                sage to the practicing physician, emphasizing that the best doctors were
                the most sparing in their use of opiates. "In the last four or five years,"
                boasted Professor Walter F. Boggess, "I have not written a prescription [of
                opiates] for the relief of pain."136 On the legislative front physicians, joined
                by an increasing number of professionally minded pharmacists, pressed for
                laws restricting the availability of narcotics. From 1895 to 1915 most
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       states and many municipalities passed laws limiting the sale of narcotics
       (usually defined as cocaine and the opiates) to those possessing a valid pre-
       scription.'37 Although these laws were unevenly and often inadequately
       enforced, their net effect could only have been to reduce the number of
       unauthorized refills
          Fewer prescriptions for opium and morphine were being written in
       the first place. A 1908 sampling of 1,000 prescriptions from the files
       of a representative California druggist showed 18 containing opium, 11
       morphine, and 7 codeine, plus 4 cocaine, altogether 3.6 percent with
      some form of opiate.139 This represents a considerable drop from the
      14.5 percent for Boston (1888) and the 24.5 percent for New Orleans
       (circa 1877-1889) cited earlier. Moreover, it was the younger and better-
       educated members of the profession who were primarily responsible for
      such decreases. In 1919 Thomas Blair published the results of a painstak-
      ing study of opiate prescription by Pennsylvania physicians. He found that
      90 percent of all opiates were prescribed by one-third of all doctors. The
      conservative majority was composed largely of "modern practitioners, ei-
      ther young or keeping abreast of the times," skilled in diagnosis and case
      management, and thoroughly warned of the danger of iatrogenic addic-
      tion. The lax physicians, by contrast, were predominantly over 50 and had
      received their education when "the narcotics-menace was not stressed. 77140
      With time the conservative majority would grow even larger, as death and
      retirement thinned the ranks of the older practitioners.
         By 1910 the reform movement within the medical profession was well
      on its way to eradicating iatrogenic addiction. Opium and morphine had
      fallen into such disfavor that some physicians began to worry that they
      might be withheld in even the most dire cases. "The present generation
      has been so thoroughly warned, both by teaching at college and by obser-
      vation," wrote New Hampshire physician Oscar C. Young in 1902, "that
      now they are in many instances so very afraid to give it, even for the worst
      pain, that the patient suffers agonies worse than any hell for want of one-
      eighth of a grain of morphine. //141 Although a dwindling number of physi-
      cians continued—out of ignorance, expediency, or cupidity—to rely on
      the syringe, the overall effect of the profession's newfound narcotic con-
      servatism was a reduction in the number of opium and morphine addicts;
      old addicts died off faster than new ones were created.142 This was the
      principal reason that imports of medicinal opiates, the most sensitive ba-
      rometer of iatrogenic addiction, declined in both per capita and absolute
      terms during the first decade of the twentieth century.143
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                Impact of the Civil War

                The traditional explanation of the increase in opium and morphine addic-
                tion has focused not so much on the civilian practitioner as on his military
                counterpart. During the Civil War sick and wounded soldiers, liberally in-
                jected with morphine, frequently became addicted as did many veterans
                who, in the course of treatment for war-related injuries, were also given
                opiates. Proponents of this view often refer to the fact that during the
                nineteenth century morphine addiction earned the sobriquet "the army
                disease. "144
                   There are, however, several objections to this theory. In the first place,
                the majority of nineteenth-century opium and morphine addicts were
                women. If the Civil War was such an important factor, why should the
                Michigan (1878), Chicago (1880), and Iowa (1885) surveys have re-
                ported so many female addicts? In the second place, there is reason to
                doubt that hypodermic injection of morphine, the technique most likely
                to produce addiction, was common during the war. Hypodermic medica-
                tion was still in its infancy; few American physicians had syringes in 1860;
                and it appears that the instrument was not issued in quantity by the medi-
                cal department of either the North or the South.'45 Those army doctors
                who happened to have access to a syringe no doubt used it freely; they
                were, however, decidedly in the minority. For these and other reasons re-
                cent scholarship has downplayed the significance of the war; one writer,
                Mark A. Quinones, has gone as far as to label it a scapegoat on which the
                spread of addiction was subsequently blamed.146
                   The essential insight of the critics, that the explosive growth of addic-
                tion from 1865 to 1895 was more than an epidemic of the army disease, is
                undoubtedly correct. In making this point, however, one must take care
                not to overstate the argument; there is still a good deal of evidence that
                the war contributed to the spread of addiction, even if it was not the sole
                cause. Although morphine injection may have been relatively rare, oral
                administration of opium was not; massive quantities of the drug were
                consumed by both armies. Nearly 10,000,000 opium pills and over
                2,841,000 ounces of other opium powders and tinctures were issued to
                Union forces alone. Soldiers recuperating from battlefield wounds were
                routinely dosed with opium, as were the victims of the common camp dis-
                eases—diarrhea, dysentery, and malaria. Circumstances of administration
                were casual. One Confederate physician, William H. Taylor, asked every
                patient he saw whether his bowels were open or shut. If the answer was
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      open, Taylor handed him a plug of opium. Union Surgeon Major Nathan
      Mayer did his diagnosing from horseback. If he thought a soldier needed
      morphine, he would pour out an "exact quantity" and then let the soldier
     lick it from his hand.'47
        When, as often happened, soldiers' diseases and injuries developed into
     chronic conditions, the likelihood of addiction was enhanced. Even if a
     disabled soldier survived the war without becoming addicted, there was a
     good chance he would later meet up with a hypodermic-wielding physi-
     cian. The anonymous Yankee author of Opium Eating: An Autobiographi-
      cal Sketch by an Habituate suffered just such a misfortune.'" As a conse-
     quence of deprivations suffered at Andersonville and other prisons, the
     young soldier developed constant headache and racking stomach pains.
     After he had been discharged, his doctor treated him with injections of
     morphine, to which he became addicted. His experience was repeated by
     J. M. Richards, an ex-army surgeon, who began taking morphine in 1867
     to combat chronic diarrhea.'49 There were even cases of Methodist chap-
     lains becoming addicted through the treatment of diarrhea."5° Over
     63,000 veterans were plagued with this lingering, debilitating disease;
     given what is known about the medical practice of the day, it seems likely
     that a substantial number of them eventually became addicted to opium or
     morphine.151
        The significance of the Civil War, then, comes down to two points. Dur-
     ing the fighting, large amounts of opium were issued in circumstances fa-
     vorable to addiction; after the fighting, sick and wounded veterans greatly
     expanded the pool of candidates for iatrogenic addiction. The precise
     numbers and proportions involved are unknown, since addicted veterans
     went to great lengths to conceal their condition for fear of losing their
     pensions."52 It is certain, however, that the war's greatest impact was felt
     from 1861 to 1900; after 1900 there were fewer and fewer surviving
     veterans, addicted or otherwise.153 The timing is of interest, since the
     expected die-off of many aging veterans around the turn of the century
     coincides exactly with the decline in per capita imports of opium and mor-
     phine.


     Self-Dosage

     A third factor in the spread of addiction was self-dosage with medicines
     containing opium and morphine. In some instances this meant the out-
     right purchase, on a friend's advice and without a doctor's prescription, of
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                some official preparation of opium, such as paregoric.'54 Another common
                pattern involved the unwitting consumption of opium or morphine in
                the form of a patent or proprietary medicine purchased from a druggist,
                mountebank, or mail-order house.155
                   Patent medicines (the term is a misnomer, for most patent medicines
                carried no patent at all) were secret formulas marketed, usually with the
                most extravagant claims, by entrepreneurs seeking to capitalize on real or
                imagined ills.156 Although these concoctions could contain virtually any-
                thing, opium and morphine, with their ability to alleviate a wide range
                of symptoms, were particularly attractive as ingredients. The career of
                "Scotch Oats Essence" is typical. One day the originator of this remedy, a
                young man with an eye on the main chance, asked his physician in an off-
                hand manner how he would prepare a successful patent medicine. "Oh,
                well," replied the doctor, "make the basis whisky; put in some opiate; dis-
                guise the whole with a bitter tincture; get high-sounding testimonials or
                indorsements, and especially give it an attractive, 'taking' name. Then ex-
                tensively advertise it from 'Dan to Beersheeba' and the thing is done."
                The young man, evidently impressed with the simplicity of the scheme,
                did precisely that. Scotch Oats Essence enjoyed a successful, if devastat-
                ing, career as a nerve tonic, until someone analyzed the solution and
                announced that it contained morphine. "As a result the sales fell off, insol-
                vency and financial ruin followed. Then the proprietor drank himself to
                death, mortified at his failure and public exposure."157 Ruin following ex-
                posure was a fate common to many narcotic nostrums, a point to which I
                shall return.
                   The number of opium and morphine addicts who could trace their
                plight to self-medication is not known, but certainly they were in the mi-
                nority. Statistical summaries of addicts seen by Charles Terry in Jackson-
                ville (1912, 1913) and by Lawrence Kolb (1923) establish that prescrip-
                tion or administration by physicians, rather than self-medication, was the
                most important factor.158 The social background of opium and morphine
                addicts underscores the importance of iatrogenic addiction. Patent medi-
                cines were used mainly by the poor,159 yet the majority of addicts were
                from either the middle or the upper class, that is, they were people who
                could afford doctors.
                   One possible explanation for the observed class difference is that direct
                administration by a physician was more likely to lead to addiction than dis-
                guised consumption in the form of a patent medicine. This inference may
                seem counterintuitive; morphine by any other name is still morphine. The
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      difference is that the farmer who nursed a bottle of Scotch Oats Essence
     was blissfully unaware of its habit-forming potential; if physical depen-
      dence occurred and withdrawal symptoms ensued, he still might have
      escaped addiction by attributing his sickness to something other than dis-
     continuation of the medicine. If, on the other hand, he, like most doctors'
      patients, discovered that he had become dependent on morphine and that
     he could forestall withdrawal symptoms simply by consuming more of the
     drug, then he was almost sure to become addicted.'6° Hence the very se-
     crecy that surrounded the nostrum served in some instances to prevent
     addiction to it.
        There are other reasons why narcotic patent medicines did not spawn as
     many new addicts as physicians; these involve the purposes for which the
     products were advertised. First, there was a class of opiate-laced nostrums,
     known as soothing syrups, which were promoted as infant pacifiers. Bawl-
     ing babies were regularly stupefied into silence by impatient mothers or
     nurses who resorted to these syrups, as well as to other opium prepara-
     tions. "Paregoric by the bottle/Emptied down the baby's throttle," ran
     one old but true ballad.16' Naturally, if the infant survived this regimen
     (and thousands did not), dependence might easily form. But, again, de-
     pendence was unlikely to develop into full-blown addiction, for the infant
     would not have comprehended the nature of its withdrawal distress, nor
     could it have done anything about it.162
        The second special class of narcotic patent medicines was made up
     of the numerous habit cures. These nostrums, labeled "Opacura,"
     "Denarco," and the like, were the most outrageous frauds; invariably they
     contained the drug from which they promised freedom. A person who set
     aside the syringe to take up the cure was simply maintaining his habit in a
     different and more expensive way. One man spent "over a thousand dol-
     lars endeavoring to get rid of the habit" before he discovered, after 11
     years, that his bottled morphine cure contained largely morphine.163 As
     reprehensible as these products were, they at least did not create new ad-
     dicts; only persons already addicted would be tempted to buy them. So in
     the special cases of infants' soothing syrups and habit cures, narcotic pat-
     ent medicines cannot be held responsible for the spread of opium and
     morphine addiction. It was instead those nostrums purporting to cure
     some specific, chronic disease (such as "Prof. Hoff's Consumption Cure,"
     containing opium) that were likely to have contributed to the problem.
        After 1906 the narcotic patent medicine situation was drastically altered
     by federal legislation. The provision of the Pure Food and Drug Act that
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                packages and labels on medicines must state any narcotic content de-
                stroyed the market for habit cures and reduced the demand for other
                opium and morphine products. As one chemist put it, "The average suf-
                ferer . . . took alarm at the names of these familiar poisons on his medicine
                bottle, and feared to use the medicine."164 Consequently opium and mor-
                phine were dropped from many proprietary formulas.165 Other patent
                medicines retained their narcotic contents, but only at the risk of be-
                ing shunned by the increasingly chary buyer. Thus unwitting addiction
                through patent medicines, a factor of limited importance before 1906, de-
                clined still further with the passage of the Pure Food and Drug Act.


                Nontherapeutic Usage

               The three factors examined thus far, administration by physicians, the Civil
               War, and self-dosage, have all been of a therapeutic nature: the addiction
               process commenced with the treatment or self-treatment of some injury
               or disease. Some addicts, however, began in an entirely different way. They
               turned to opium and morphine either as a stimulus to imagination, or as a
               substitute for alcohol, or even as a primitive form of birth control.
                  The use of opium as a stimulus to imagination was closely tied to the
               writings of Thomas De Quincey, whose popular Confessions of an English
                Opium Eater first appeared in serial form in 1821. Although the Con-
               fessions touched on many subjects, the passages contemporaries found
               most intriguing were those that dealt with De Quincey's fantastic opium
               dreams. As Alethea Hayter, a leading De Quincey scholar, has pointed out,
               these dreams were more a product of the author's own extraordinary
               imagination than the drug itself; nevertheless, it was easy for the reader to
               conclude that he too might journey through fantastic inner realms if only
               he downed a little opium.16.6
                  Translating De Quincey's influence into a precise number of opium and
               morphine addicts is, again, impossible. At best one can only attempt to as-
               sess the relative importance of the different sources of addiction. While the
                Confessions induced a few literati to dabble in opium, it is doubtful that its
               overall impact, especially in comparison with iatrogenic addiction, was
               great. Aside from the few spin-off confessions of writers who mimicked De
               Quincey,'67 it is extremely difficult to find documented cases of Americans
               whose addiction stemmed from a reading of the Confessions. It is true that
               nineteenth-century addiction literature contains a number of pointed ref-
               erences to De Quincey, but these remarks are better understood as pro
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                                  Addiction to Opium and Morphine            59

    forma warnings to the unwary than as actual evidence of the extent of his
    influence. It was almost a literary convention among addiction writers to
    denounce the famous English opium eater, even though the thrust of their
    argument was elsewhere .168
       A more likely nontherapeutic route to addiction, at least in America,
    was the use of opium or morphine by women as a substitute for alcohol.
    Throughout the nineteenth century it was considered unseemly, by both
    males and temperance-minded females, for women to drink. Yet there
    was a powerful temptation, particularly for women of high social station,
    caught up in the social swirl, for women stranded in rural areas, thor-
    oughly bored with their lot, and for seamens' wives, separated for long pe-
    riods from their husbands, to resort to some euphoric agent.169 Opium
    and morphine, which at least in the initial stages of their use produce eu-
    phoria, suited these purposes very well.170
       Opiates also suited the purposes of frustrated women whose aspirations
    had been blocked by a male-dominated society. Remarked one anony-
    mous lady of culture:
      I am the last woman in the world to make excuses for my acts,
      but you don't know what morphine means to some of us, many of
      us, modern women without professions, without beliefs. Morphine
      makes life possible. It adds to truth a dream. 'What more does religion
      do? Perhaps I shock you. What I mean is that truth alone is both not
      enough and too much for us. Each of us must add to it his or her
      dream, believe me. I have added mine; I make my life possible by tak-
      ing morphine. I have managed to prevent it from disfiguring my life,
      though I know other women who botched it horribly. I am really
      morphine mad, I suppose, but I have enough will left not to go be-
      yond my daily allowance.'7'
    Even allowing for a measure of self-justification, it seems reasonable to
    suppose that some embittered and disillusioned women drowned their
    sorrows with opiates. Alternately, repressed drives and suppressed ambi-
    tions may have manifested themselves in physical symptoms, which were
    in turn alleviated with opiates.
       The soothing properties of opiates were not lost on another important
    female addict group, the prostitutes. Life in the "cribs," entertaining a
    succession of grunting, sweating males, must have been emotionally dev-
    astating; opiates offered an attractive, if temporary, escape. Moreover, the
    regular use of opiates conferred an important physiological benefit, the
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                 disruption or total cessation of menstruation.172 An amenorrheal prosti-
                 tute obviously did not have to contend with either the risk of pregnancy or
                 enforced time off for her monthly period. (Some ladies of refinement, also
                 anxious to conduct their affairs without risk of pregnancy, acquired this
                 contraceptive practice from their sisters in the demimonde.173 ) So it is not
                 surprising that the prostitute-addict figured in several studies, especially
                 those involving urban areas.174 The particular opiate used, however, varied
                 from time to time and from place to place. Between 1870 and 1910 smok-
                 ing opium made considerable inroads on morphine as the drug of choice
                 among prostitutes and their underworld companions. Then, between
                 1910 and 1920, there was a switch back to morphine or, in some places, to
                 its new derivative, heroin.

                 Despite the undercurrent of nontherapeutic use, the predominant pattern
                 of opium and morphine addiction was medical. As doctors put aside these
                 drugs in favor of new and safer analgesics and superior therapeutic agents
                 and techniques, and as narcotic patent medicines were subjected to ad-
                 verse legislation, the likelihood of chronic disease or injury leading to
                 addiction diminished sharply. After 1900, aging opium and morphine ad-
                 dicts, including veterans who had become addicted during or after the
                 Civil War, died off faster than new addicts were created. As a result, the
                 more disreputable types of users, notably opium smokers and heroin sniff-
                 ers, came to constitute a progressively larger share of the total addict pop-
                 ulation. The transformation of the American opiate addict had begun.
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            4
                    Addiction to Heroin




         Heroin, today virtually synonymous in the public mind with opiate addic-
         tion, was unknown until the closing years of the nineteenth century. Intro-
         duced in 1898 as a cough suppressant, it was, like opium and morphine,
         employed as a therapeutic agent.' Also like opium and morphine, its lib-
         eral use led to a bout of iatrogenic addiction, although not on the scale of
         the morphine epidemic of the 1870s and 1880s. Unfortunately, just as
         physicians were becoming more circumspect in their use of the drug, her-
         oin became popular among the young as a euphoric agent and as a substi-
         tute for smoking opium and cocaine. At first its use was concentrated in
         the New York City area, but because of fundamental changes in American
         narcotic laws, heroin spread throughout the country during the 1920s
         and 1930s.
            More precise information is available about heroin addicts than about
         their predecessors, the opium smokers. The growing national debate over
         narcotic control stimulated medical interest in heroin addiction, as did
         the iatrogenic nature of the earliest reported cases. Another factor was
         World War I; any drug making inroads on draft-age youth was automati-
         cally a matter of concern, particularly for the new public health profession.
         Finally, when the Harrison Act went into effect on March 1, 1915, many
         heroin addicts sought or were forced to seek treatment in public institu-
         tions, thereby giving physicians an opportunity for firsthand observation.
         Their combined notes, reports, and articles yield sufficient epidemiologic
         data to fashion a detailed profile of the heroin addict, especially of the
         nonmedical user as he would have appeared in the era 1910 to 1925.


         Characteristics of Heroin Addicts

         In contrast to nineteenth-century opium and morphine addicts, the vast
         majority of heroin addicts were men. Studies conducted by Clifford B.
                                                                                  85
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                  Farr in the Philadelphia General Hospital, by Harry Drysdale in the Cleve-
                  land City Hospital, and by Sylvester R. Leahy in the Brooklyn Kings
                  County Hospital, all published in 1915, showed that 75.8, 80.0, and 95.0
                  percent of the heroin addicts treated at their respective institutions were
                  male.2 At the New York City narcotic clinic (1919-1920) 78.8 percent of
                  the patients, most of whom used heroin, were male; among the cases stud-
                  ied by Lawrence Kolb in 1923, the percentage male was 82.5.3 The only
                  exception to the rule was Jacksonville, where in 1912 Charles Terry re-
                  ported (on the basis of a relatively small sample) that 54.5 percent of the
                  heroin addicts were women.4
                     Like opium smokers, heroin addicts typically became addicted in adoles-
                  cence or early adulthood. In Brooklyn the average age of addiction was
                  19; in Cleveland, and among patients treated at Bellevue Hospital, in New
                  York City, the average age was 20 years, 10 months.5 At the Inebriate Hos-
                  pital in Warwick, New York, the average age at the time of treatment
                  (not addiction) was 22 years, 7 months; morphine addicts, by contrast,
                  averaged 37 years, 5 months.° In 1919 army psychiatrist George C.
                  McPherson and psychologist Joseph Cohen published case summaries of
                  addicted draftees entering Camp Upton, New York, indicating an average
                  age of addiction for heroin users of 19 years, 10 months.' The fact that
                  these men were draftees may have biased the average downward, but it is
                  still noteworthy that within the draft limits of ages 18 to 31, every one of
                  the 37 heroin users listed was addicted by the time he was 26. Approxi-
                  mately three-quarters of the heroin cases examined by Lawrence Kolb
                  were also addicted before age 26, with the average being 22 years, 3
                  months.8 In addition to the purely statistical evidence, there are numerous
                  allusions to the youth of heroin addicts. "Most of the addicts coming un-
                  der our treatment," wrote Frank A. McGuire and Perry M. Lichtenstein,
                  physicians at New York City's Tombs Prison, "are young individuals. It is
                  not uncommon to find boys and girls sixteen and eighteen years of age
                  who give a history of having taken the drug for two years."9 A similar de-
                  scription was offered by Lucius Brown, who characterized Tennessee's rel-
                  atively few heroin addicts as "youngsters from 15 to 25 years of age.""
                     Heroin addiction was concentrated among whites, especially during the
                  decade 1910 to 1920. The Chinese continued to smoke opium well into
                  the 1920s and 1930s, and blacks, although they were known to use her-
                  oin, did not do so as frequently as whites." In 1912 only 9.1 percent of
                  Jacksonville's heroin addicts were black, although blacks constituted more
                  than half the city's population.'2 Drysdale and Leahy recorded no black
                  heroin users; McPherson and Cohen found some heroin addicts of "Afri-
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          can" extraction, although they did not specify how many.'s Blacks were
          not seriously afflicted with heroin addiction until they began migrating in
          large numbers to northern cities.
             One of the few things heroin addicts had in common with opium and
          morphine addicts, aside from their racial background, was their national-
          ity. The majority of heroin addicts were born in the United States. In New
          York City Leahy, Charles Stokes, and S. Dana Hubbard found that only
          4.3, 16.7, and 30.6 percent of their respective cases were foreign-born, al-
          though in 1920 the foreign-born made up frilly 36.1 percent of that city's
          population.24 Of the draftee-addicts listed by McPherson and Cohen, only
          2 of 37 heroin users were born outside the United States.15
             If immigrants were relatively immune to heroin addiction, their chil-
          dren were not. Leahy went on to show that 41.7 percent of his sample was
          made up of second-generation Americans. While there were no heroin ad-
         dicts born in either Ireland or Italy, 17 addicts of Irish parentage and 11 of
          Italian parentage were born in this country. Whereas there was only 1 ad-
         dicted German and 1 addicted Russian Jew, there were 21 addicts of Ger-
         man parentage and 6 of Russian Jewish parentage born in the United
         States.16
             Geographically, heroin addicts tended to cluster around New York City;
          by 1920 probably 9 out of 10 American heroin addicts were within 180
         miles of Manhattan. The adjacent states of New York, New Jersey, Penn-
         sylvania, and Delaware all had relatively high rates of heroin addiction.'?
         From 1910 to 1916 a few distant cities, such as Cleveland,28 seemed to be
         developing a significant heroin problem, but addicts in these places by and
         large had gone back to morphine by 1920. Morphine use persisted outside
         the New York City area for some time; in Boston, for example, it lasted
         well into the 1920s; in Chicago, well into the 1930s.'9
             The use of heroin, unlike that of opium or morphine, was concentrated
         in urban areas. In New York State virtually all of the heroin addicts resided
         in New York City.2° Within the city itself the seamier neighborhoods, the
         "tenderloins," harbored the greatest number of addicts. The only figures
         available on this point, involving 100 addicts (93 heroin, 7 morphine)
         treated at Warwick, are sketchy. An excerpt from the report, compiled by
         Dr. E. W. Phillips, reads, "Neighborhood (always from the laborer's view-
         point.) Good, 21; fair, 28; bad, 51."21 Exactly what, in Phillips' judgment,
         constituted "fair" or "bad" is difficult to say, but there is an abundance of
         other nonstatistical testimony affirming that heroin addiction was focused
         in impoverished and vice-ridden neighborhoods.22
             Accordingly, heroin addicts tended to be of a lower-middle-class or
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                   lower-class background. "Us[ing] as a standard of comparison the ordi-
                   nary laborer," Phillips continued, the addicts' social class could be de-
                   scribed as "low normal for American communities."23 Although precise
                   statistics on income are not available, it is safe to assume that most heroin
                   addicts grew up in relatively poor families, in many cases having been re-
                   cently transplanted from Europe.24 The cost of supporting their habit,
                   especially after restrictive legislation drove up the price of heroin," only
                   exacerbated their poverty; drugs came first, necessities later. Hygiene and
                   grooming were frequently neglected. As a group, then, heroin addicts
                   would have struck the public as even worse than "low normal"; pale, ema-
                   ciated, and shabbily dressed, they often looked more like down-and-outs
                   than respectable laborers.26
                      When they were employed, heroin addicts generally held unskilled or
                   semiskilled jobs: as drivers, conductors, elevator operators, factory work-
                   ers, day laborers, longshoremen, painters, bellboys, peddlers, news deal-
                   ers, soda jerks, and the like.27 A few held skilled jobs, as plumbers or
                   mechanics for instance, while others gave their occupation as salesman,
                   clerk, or actor.28 There were also gamblers and professional criminals,
                   many of whom had a history of opium smoking.29 Some of the female ad-
                   dicts gave their occupation as actress," but a substantial number, possibly
                   the majority, were prostitutes. Repeating a pattern observed among the
                   opium smokers, some of these prostitutes lived with addicted lovers, who
                   shared their heroin and their illicit earnings.31
                      The composite heroin addict was thus a young white male who lived in
                   a slum neighborhood in New York or a neighboring eastern city. He was a
                   citizen by birth, though his parents might have been immigrants. Poorly
                   educated, when he worked at all he held a blue-collar job of an unskilled
                   or semiskilled variety. He spent much time on the street, running with a
                   gang, and it was often within the gang that his heroin use began. "Har-
                   old" typifies this new breed of addict. He was an orphan, or at least
                   claimed to know nothing about his family. His youth was spent in aban-
                   doned houses "somewhere in Joisey," in the company of a juvenile gang
                   that included escapees from various institutions. Group experimentation
                   with opiates, smoking opium among them, was the order of the day. Har-
                   old soon became an opiate addict, using not only heroin, but any drug as
                   long as it contained "any kind or quantity of Opium or Cocaine." A vaga-
                   bond and a petty thief, Harold's appetite for drugs was as eclectic as it was
                   voracious. "To what was he addicted?" wrote an awed physician, "I might
                   answer in all sincerity, 'The Pharmacopoeia.'"32
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         Iatrogenic Heroin Addiction

          Not all heroin addicts were as omnivorous as Harold, nor did they owe
          their condition to association with other users. Between 1898 and 1910
          there was another round of iatrogenic addiction, and a number of medical
          addicts were created. The key issue is one of extent: how significant a
          problem was therapeutically engendered heroin addiction, especially in
          comparison to street use?
            The claim that iatrogenic heroin addiction was widespread was devel-
          oped first and most forcefully in Charles Terry and Mildred Pellens' 1928
         study, The Opium Problem. In this, as in all of their writings, Terry and
          Pellens stressed the prevalence of iatrogenic addiction, whether to opium,
         morphine, heroin, or codeine, and tended to portray the addict sympa-
         thetically, as the innocent victim of a careless practitioner." Their argu-
         ment regarding heroin ran as follows. Introduced in 1898 as a substitute
         for codeine and morphine, the drug was enthusiastically received by the
         European and American medical communities. It was recommended for
         every variety of complaint and enjoyed wide popularity as a therapeutic
         agent. Worse, it was touted as nonhabit-forming and was even endorsed as
         a cure for morphine addiction. Warnings that heroin was addictive accu-
         mulated gradually. It was not until 1910 that the profession fully awoke to
         the danger; by that time "a great many" heroin addicts had been created
         inadvertently.34
            There are, however, several problems with this account. If the medical
         profession was as culpable as Terry and Pellens suggested, why was the iat-
         rogenic heroin addict by 1914 clearly labeled as a minority type? Terry
         himself admitted that most of the Jacksonville heroin addicts owed their
         plight to dissipation.35 "The present heroin habitue," wrote neuropsy-
         chiatrist Pearce Bailey in 1915, "rarely accuses a physician of being the one
         who introduced him to his cruel master. The first dose of heroin is neither
         pill nor hypodermic injection taken to alleviate some physical distress, but
         is a minute quantity of a fine powder 'blown' up the nose at the suggestion
         of an agreeable companion who has tried it and found it 'fine."36
            Statistics bear out this interpretation. In 1912 Massachusetts physician
         Paul K. Sellew published an account of 9 cases of heroin addiction. Al-
         though he intended his article as a warning to the profession to avoid
         overprescribing the drug, only 2 of his cases were of therapeutic origin.
         The remaining 7 began using heroin through curiosity or dissipation, or as
         a substitute for smoking opium.37 Of 18 heroin addicts treated by Stokes
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                   in 1917, 17 listed "companions" as the source of their addiction. Only 1
                   claimed medical reasons, citing a vague genitourinary ailment." Finally,
                   there was a retrospective study undertaken in 1927 by Lawrence Kolb and
                   John H. Remig, inspector for the Pennsylvania Department of Health's
                   Bureau of Drug Control. The sample was largely confined to opiate ad-
                   dicts who became addicted through medication or self-medication during
                   the years 1898 to 1924, that is, after heroin was discovered and before its
                   use was outlawed in the United States. Of the 150 cases examined, only 2
                   (1.3 percent) involved heroin, a woman addicted in 1906 and a man ad-
                   dicted in 1911. The remainder began with some form of morphine (94.0
                   percent), paregoric (2.7 percent), or tincture of opium (2.0 percent).39
                   Something kept medically related heroin addiction to a minimum, in com-
                   parison to both medically related morphine addiction (itself a gradually
                   disappearing phenomenon) and heroin addiction spread by association.
                      A reexamination of the literature on the therapeutic uses of heroin
                   yields one important clue: heroin was indicated principally in respira-
                   tory disorders. Regarded as a specific, it was given for a limited range of
                   diseases—unlike morphine, which in the nineteenth century served as a
                   virtual panacea. Early work on the therapeutic applications of heroin, es-
                   pecially that of Heinrich Dreser, emphasized its usefulness in suppress-
                   ing cough and alleviating respiratory difficulties, a theme reiterated in
                   most American discussions of the drug.49 In 1900, for example, New York
                   physician Bernard Lazarus reported favorably on the use of heroin in 9
                   cases. With the exception of a woman suffering from intercostal neuralgia,
                   all of the patients had respiratory complaints.41 In 1906 the Journal of
                   the American Medical Association summarized the literature on heroin as
                   follows:
                     [It is] recommended chiefly for the treatment of diseases of the air
                     passages attended with cough, difficult breathing, and spasm, such as
                     the different forms of bronchitis, pneumonia, consumption, asthma,
                     whooping cough, laryngitis, and certain forms of hay fever. It has also
                     been recommended as an analgesic, in the place of morphine in vari-
                     ous painful affections.42
                   The last sentence refers to studies by Norman P. Geis, Samuel Horton
                   Brown, Erle Duncan Tompkins, and others documenting heroin's analge-
                   sic potential.43 Although these researchers were perfectly correct—heroin
                   is at least as potent as morphine in relieving pain44—several dissenting
                   opinions were expressed. An early German report indicated that heroin
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          did not seem suitable as a general pain reliever (Schmerzlindernd), empha-
          sizing instead its utility in cough." Morris Manges, writing in the New
          York Medical Journal, described heroin as absolutely useless as a general
          analgesic in the usual dosage of 12/ 2 to 2/10 grain." George E. Pettey also
          remarked that the drug was less powerful and less prompt than morphine
          as a pain reliever." As misinformed as these critics were, they appear to
          have had an impact on the profession, for heroin continued to be used
          principally as a cough remedy." This tendency was reinforced by the ad-
          vertisements of the Bayer Pharmaceutical Company and other heroin dis-
          tributors who promoted the drug as a specific for cough and respiratory
          disorders, and only rarely as an analgesic."
             The circumscribed use of heroin greatly reduced the number of poten-
          tial iatrogenic addicts. Whereas virtually any complaint in the 1870s might
          have warranted an injection of morphine, a patient in the early 1900s suf-
          fering from rheumatism or dysentery or some other nonrespiratory ail-
          ment had a relatively remote chance of receiving heroin. The intimation of
          Terry and Pellens that the medical profession used heroin as indiscrimi-
         nately as morphine obscured this important point.
             Another weals iess in the case for widespread iatrogenic heroin addic-
         tion involves the mode of administration. Heroin was given orally, in
         tablets, pills, and pastilles, or in an elixir or glycerin solution.5° It was not
         generally injected, particularly in cases of cough, and the dosage was kept
         low." Small amounts of opiates administered orally would not have been
         as dangerous as opiates injected hypodermically. Addiction via the oral
         route was still possible, of course, but at least the near-instantaneous relief
         and euphoria of an injection were absent.
             This advantage was somewhat offset, however, by the fact that heroin
         was introduced as a nonaddictive drug. "Safe and reliable," "addiction can
         scarce be possible," and "absence of danger of acquiring the habit" were
         some of the early, misleading claims made about heroin.52 More skeptical
         physicians soon began issuing warnings, however. In 1899 Horatio C.
         Wood, Jr., became the first American to urge caution; the following year
         Manges noted "habituation" as a consequence of treatment in 6 to 8 per-
         cent of his cases. Although he distinguished such habituation from fall-
         blown morphine addiction, a condition he held to be much more serious,
         Manges nevertheless cautioned that "after all heroin is a derivative of mor-
         phine, and . . . is to be dispensed with the discrimination and judgment
         which are essential to all sedative drugs."53 In 1903 George Pettey pub-
         lished a strong and unambiguous indictment, "The Heroin Habit An-
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                   other Curse," in which he systematically rebutted the claims of safety
                   advanced by heroin enthusiasts.54 The aforementioned Journal of the
                   American Medical Association article was equally clear on this point: "The
                   habit is readily formed and leads to the most deplorable results."55 Ab-
                   stracts of European work on heroin addiction, which soon began appear-
                   ing in English-language journals, were another source of information.56
                   The significant point about these and other heroin warnings is that they
                   appeared as early as they did, within a few years of the drug's introduction;
                   physicians did not have to wait for 15 years, as was the case with the hypo-
                   dermic injection of morphine. This relatively prompt response was an-
                   other factor limiting the extent of iatrogenic heroin addiction.
                      The early heroin warnings also appeared in a period of growing profes-
                   sional concern over the excessive prescription of opiates and were there-
                   fore more likely to be heeded by the average practitioner, now highly
                   sensitive to charges of narcotic overuse. It would be difficult to choose an
                   exact date when iatrogenic heroin addiction ceased to be a problem (Terry
                   and Pellens designated 1910); the situation is probably best described as a
                   slow but steady abandonment of the drug. By 1920 Thomas Blair could
                   announce that in Pennsylvania "there are literally thousands of physicians
                   who have stopped the use of heroin altogether." Doctors prescribed an av-
                   erage of less than 16 grains apiece in 1919, and Blair anticipated that the
                   average for 1920 would scarcely exceed 2 grains.57 That same year the
                   House of Delegates of the American Medical Association endorsed a reso-
                   lution calling for a total ban on heroin.58
                      A final word must be said about heroin as a cure for morphine addic-
                   tion. In 1899 a Berlin physician, Albert Eulenberg, suggested that heroin
                   might be useful in treating morphine addiction, a proposal passed on to
                   the American audience by Bernard Lazarus of New York.59 How wide-
                   spread this practice became is uncertain, but by 1903 Pettey reported that
                   half (4 of 8) of the heroin cases coming under his care "had substituted
                   Heroin for morphine with the idea that they were curing themselves of the
                   habit, but after the substitution was made they were unable to leave off the
                   Heroin."60 After word spread that heroin was addictive, this practice was
                   quickly abandoned.61 From the standpoint of the overall prevalence of
                   opiate addiction, the substitution cure was of little importance; no new
                   opiate addicts were created, only old ones were fitted out with a new drug.
                      In summary, then, the therapeutic use of heroin led to the creation of
                   some new addicts, and some older addicts were switched to heroin in a
                   vain attempt at cure. Fortunately, there were several limiting factors. The
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         most important was the fact that heroin, unlike morphine, was indicated
         principally for one category of disease, the respiratory disorders. It was
         never a panacea. Furthermore, heroin was given orally, rather than in-
         jected. The relatively early warnings of heroin's addictive potential, plus
         the profession's growing narcotic conservatism, also played a constraining
         role. By approximately 1910 iatrogenic addiction had been reduced to a
         triclde, and the heroin addict who could blame his condition on his physi-
         cian was about to be eclipsed by a new and less sympathetic type. Enter the
         heroin sniffer.


         The Origins of Nonmedical Heroin Addiction

          "It is a notorious fact," remarked Congressman Joseph Holt Gaines of
          West Virginia, one of the few to speak against the 1909 Smoking Opium
          Exclusion Act, "that those who are addicted to the opium habit will secure
          the drug in some form . . . if they are prevented from getting it in the form
         in which it is preferred."62 Subsequent events proved Gaines correct; one
         of the earliest and most significant incentives to the use of heroin was the
          ban on imported smoking opium. This trend, according to Pearce Bailey,
          began about 1910, as veteran smokers and their recruits, deterred by the
         new crackdown on the dens, abandoned the pipe for more powerful and
         legal forms of opiates.63 Smoking opium could still be had, of course, but
         it "became very expensive and could only be obtained in small quantities
         by those who could afford it at all."64 Heroin, which was cheap and did
         not require the use of a hypodermic syringe, was an attractive alternative.
         The drug also appealed to curious neophytes who in years past would have
         experimented with smoking opium, but who now began sniffing heroin
         instead. The changing preference of these younger users helps to explain
         the low average age of heroin addicts.
            Another factor behind the increasing popularity of heroin was the grow-
         ing scarcity of cocaine. A popular underworld stimulant, cocaine was, like
         smoking opium, a target of restrictive legislation. Supplies diminished,
         prices rose, and substitutes were sought. In order to understand how this
         situation came about, and why cocaine users switched to heroin, it is nec-
         essary to digress briefly and explain something of the history of this con-
         troversial drug.
            Coca leaves, chewed by South American natives for centuries, came to
         the attention of the western medical community in the mid-nineteenth
         century. Although the alkaloid cocaine was isolated in Germany in 1860, it
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                   was not until the mid-1880s that its therapeutic application became com-
                   mon. The major impetus to medical use of cocaine was a series of glow-
                   ing reports, including articles by a then-obscure Viennese neurologist,
                   Sigmund Freud.65 Like morphine (but unlike heroin), cocaine was recom-
                   mended for a wide variety of conditions. As one advertising brochure put
                   it, an "enumeration of the diseases in which coca and cocaine have been
                   found of service would include a category of almost all the maladies that
                   flesh is heir to."66 Cocaine was recommended as an antispasmodic, aphro-
                   disiac, anodyne, and local anesthetic, as a specific for hay fever and asthma,
                   and as a cure for alcoholism and opiate addiction, to name but a few of its
                   proposed uses.67 It was also recommended as an all-purpose tonic, for pa-
                   tients who exhibited "melancholy" or "the blues" or other less than pre-
                   cisely defined depressive symptoms. One especially popular product was
                   Vin Mariani, a coca wine used and endorsed by Americans of no less stat-
                   ure than Thomas Edison and William McKinley.65 Many physicians also
                   tried cocaine on themselves, thereby worsening the profession's already
                   serious addiction problem.69
                      The faddish use of such a powerful stimulant inevitably drew a counter-
                   attack. The suggestion, advanced by Freud and others, that cocaine be
                   employed to alleviate withdrawal distress was vigorously condemned." A
                   growing number of critics chided the profession for overprescribing the
                   drug in colds, hay fever, and other common ailments/1 Equally important
                   was the development of drugs like tropacocaine (1891), stovaine (1903),
                   and novocaine (1904), synthetics that retained cocaine's valuable anes-
                   thetic properties but lacked its euphorigenic effects. Just as many practi-
                   tioners put aside morphine for safer analgesics like aspirin, conscientious
                   dentists and physicians began switching from cocaine to one of the new
                   synthetics/2 Unfortunately, patent-medicine vendors continued to pro-
                   mote self-medication with the drug, a key ingredient in many of their
                   preparations. Cocaine was also available in a variety of soft drinks (some of
                   which had medicinal pretensions, some not) or in pure form through the

                      The treatment or self-treatment of disease was only one factor in the
                   spread of cocaine. Sometime in the late 1880s or early 1890s—the date is
                   not certain—black stevedores in New Orleans began taking the drug in
                   order to "perform more easily the extraordinarily severe work of loading
                   and unloading steamboats," a task at which they toiled for up to "seventy
                   hours at a stretch . . . without sleep or rest, in rain, in cold, and in heat."74
                   It is likely that this practice had its origins in reports of similar use of coca
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          leaves by South American natives, who were able to increase their nervous
          energy, forestall drowsiness, and "bear cold, wet, great bodily exertion,
          and even want of food to a surprising degree, with apparent ease and im-
          punity."75 The use of cocaine by black laborers spread from New Orleans
          to other parts of the South, to cotton plantations, railroad work camps,
          and levee construction sites.76 "Well, the cocaine habit is might' bad," ran
          one work song, "It kill ev-ybody I know it to have had."77 Others turned
          to the drug, not as a stimulus to work, but as a form of dissipation.78 Some
          authorities charged that blacks, crazed by cocaine, went on superhuman
          rampages of violence, allegations that since have been denied.79 Behavioral
          considerations aside, it is fair to say that cocaine was relatively popular in
          black communities, and that many blacks made at least occasional use
         of the drug as a euphoric agent. In 1912 Charles Terry found blacks
         significantly overrepresented among Jacksonville's regular cocaine users;
         their rate was 2.98 per thousand, in comparison to 1.61 for whites."
            Sometime between 1895 and 1900 cocaine became popular in the
         white underworld, in both northern and southern cities. "The classes of
         the community most addicted to the habitual use of cocaine," reported
         New York City Police Commissioner Theodore Bingham, "are the para-
         sites who live on the earnings of prostitutes, prostitutes of the lowest or-
         der, and young degenerates who acquire the habit at an early age through
         their connection with prostitutes and parasites."8' As a group they were
         quite similar to the white opium smokers; many, in fact, had a history of
         opium smoking, or had previously resorted to some other opiate." As
         Bingham's remarks suggest, the practice was frequently acquired in broth-
         els, where experienced prostitutes introduced their customers to the plea-
         sures of the drug.83
            Although cocaine as a medicine was inhaled, ingested, or injected, for
         euphoric purposes it was usually sniffed. George C. Biondi, of the Ford-
         ham University School of Medicine, commented that of approximately a
         thousand cases he had witnessed, he could recollect but "three or four in-
         stances of exclusive hypo users, and these were at the same time morphine-
         fiends."84 Because of the vascularity of the mucous membrane, cocaine
         sniffed up the nostrils enters the bloodstream and produces its effects very
         quickly. Sniffing was also economical; only small amounts, when used in
         this manner, were required to produce stimulating effects. Sniffing also
         avoided the expense, unpleasantry, and possible sepsis involved in hypo-
         dermic administration.
            Reaction to nonmedical cocaine use, among blacks as well as whites, was
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                   not long in coming. By 1915 most states had passed laws designed to re-
                   strict use of the drug to therapeutic purposes, mainly by limiting its pur-
                   chase to those with a legitimate prescription.85 New York passed a series of
                   laws in 1907, 1908, 1910, and 1913, the last placing so many elaborate
                   restrictions on cocaine that legal distribution was practically impossible."
                   While these laws did not prevent the illicit use of cocaine, they did succeed
                   in stimulating higher black-market prices.
                       With the price of their favorite drug increasing, cocaine users in New
                   York and elsewhere were forced to consider alternatives. Heroin was dou-
                   bly attractive: it was cheap, and it was taken in the accustomed fashion,
                   sniffing. Any unpleasant symptoms, particularly depression, that the regu-
                   lar cocaine user might experience on discontinuing use of the drug were
                   alleviated by the tranquilizing and mood-elevating properties of heroin.
                   From New York City, Philadelphia, and Boston came reports of heroin ad-
                   dicts with a prior history of cocaine use.87 Newspapers and films also em-
                   phasized the link between the two drugs. One story, appearing in the New
                   York Times, stated that heroin, "made by treating cocaine with acetic acid
                   . . . is much cheaper than cocaine, [and] its use is proportionately greater."
                   The slip is revealing; the reporter, aware that heroin and cocaine were
                   taken in the same way and by the same type of people, assumed the one
                   was a derivative of the other. "The Drug Terror," a silent movie of the era,
                   made a similar error. The film opened with a shot of a heroin bottle; be-
                   neath it ran the caption, "This drug is identical with cocaine in effect."
                   This, of course, is incorrect: heroin is a narcotic, cocaine a stimulant; her-
                   oin withdrawal includes physical symptoms absent in cocaine withdrawal.
                   But one can easily imagine how the filmmakers, intent on dramatizing the
                   dangers of drug sniffing by a group who had a history of using both sub-
                   stances, could have mistakenly equated heroin and cocaine."
                       Some users, however, had no previous experience with cocaine but be-
                   gan experimenting with heroin directly. Like "Harold," they might later
                   sniff cocaine when it was available, but its use was relatively insignificant
                   compared to the amount of heroin consumed once addiction was estab-
                   lished.89 Many of those who used heroin initially, as well as those who
                   switched from other drugs, were members of juvenile gangs.9° Gang
                   members were susceptible for several reasons. If one of their number
                   passed around some heroin and urged his peers to sample it, there was tre-
                   mendous pressure to do so; turning it down was an act of cowardice, en-
                   tailing loss of status or even expulsion from the gang. On the positive side,
                   there was the tremendous curiosity—the quest for new adventure—that
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          characterizes all such youthful groups. "The majority of the present takers
          are boys and young men whose easy sociability has been developed in the
          gangs," wrote Pearce Bailey. "A common story," he continued,
            is of a group of boys being together at a dance, or a show, at some
            outdoor gathering in the summer. One of the number produces a
            "deck" or "package" of heroin and tells the others that the taking of
            it is wonderfully enjoyable; "try that and you won't have no trouble,"
            he says; he sniffs it up his nose and has enough of it on hand or within
            reach to supply all the others who wish to try it. They, of course, all
            wish to follow exactly as the majority in any group of small boys will
            wish to imitate someone whom they see smoking tobacco. The first
            taking is generally not agreeable, but they try it again, and about
            twenty-five per cent become victims of the habit within a few
            months.91
            Others described the same process in less sympathetic terms. "In many
         instances the patients [addicted to heroin] are members of gangs who
         congregate on street corners particularly at night, and make insulting re-
         marks to people who pass," wrote Sylvester Leahy. "The histories as ob-
         tained from the patients and their relatives show that in practically every
         case the drug had been tried by one of the members of the gang who then
         induced the other members to try it."92 New York City addiction special-
         ist Alexander Lambert characterized heroin addiction as a "vice of the
         underworld," acquired by the young through "vicious associations and
         habits." He compared heroin addicts unfavorably to morphine users, most
         of whom were over 30 and taking the drug "to forget bodily pain and
         mental suffering."93
            Is it appropriate to describe these youthful heroin users as criminals, or

         as representing a criminal class? The answer is a matter of definition. If by
         criminal is meant a hardened professional, a full-time lawbreaker, the an-
         swer is no. A boy's association with his gang and its activities was often ca-
         sual, something he did after work or school. If, however, by criminal is
         meant engaging in criminal activities, the answer is a qualified yes. The
         typical urban street gang of the 1910s and 1920s engaged in a wide range
         of legal and illegal activities. It was, as Jacob Riis put it, a club gone wild.
         The same group that would organize a baseball game or a dance one day
         might be found pilfering boxcars or smashing windows the next. Fighting
         was an ever-popular activity, and beatings, knifings, and shootings, espe-
         cially of rival gang members, were common. The gang was so structured
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                    that those who exhibited the most daring and pugilistic character quickly
                   assumed leadership; hence members were quick to perform and brag
                   about illegal feats.94 Most gang members who began using drugs had a
                    history of indulgence in destructive and dangerous pastimes, of which her-
                    oin sniffing was merely one manifestation.
                      Statistics on the age, sex, urban, and social background of the addicts fit
                   well with this portrait of the heroin user as gang member. It would be mis-
                   leading, however, to characterize heroin sniffing as strictly a juvenile gang
                   activity. Many who took heroin were older—professional criminals, gam-
                    blers, and prostitutes who found it expedient to switch from smoking
                   opium or cocaine. A few addicts came from respectable backgrounds.95
                   Army barracks were also the scene of heroin sniffing. Nonmedical use of
                   opiates in the armed services dates at least as far back as 1898, when sol-
                   diers stationed in the Philippines learned to smoke opium.96 Somewhat
                   later cocaine came into vogue, followed by heroin in the years 1912 to
                   1916. Soldiers were either introduced to the drug by their friends, who
                   praised its ability to alleviate fatigue and induce euphoria, or by prostitutes
                   who worked the nearby brothels. Heroin's appeal was enhanced by its rep-
                   utation as an aide d'amour whose use prolonged the sexual act. Army of-
                   ficers took a dimmer view of the drug, however, and, on the ground that
                   one addict might corrupt an entire company, soldiers caught using heroin
                   or cocaine were punished and discharged.97 Similarly, when the draft be-
                   came a factor, recruits showing signs of drug addiction were summarily re-
                   jected. Supervision was especially strict during World War I; moreover, an
                   addict shipped overseas, unless attached to a medical unit, would have
                   found it almost impossible to secure a supply." Because of these precau-
                   tions and wartime conditions, heroin in the army remained an isolated and
                   relatively insignificant problem, especially in comparison with growing
                   civilian use. Not until the Vietnam War did the specter of heroin addiction
                   again seriously trouble army physicians.99


                   The Spread of Heroin

                   In 1920 heroin sniffing was largely confined to New York and a few nearby
                   cities, the most important of which was Philadelphia.'" Other eastern and
                   midwestern cities had their heroin addicts, but these were a decided mi-
                   nority. By 1940, however, heroin was the opiate of choice among under-
                   world users in virtually every large American city. What effected this dra-
                   matic change?
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             To begin with a narrower question, why was heroin addiction concen-
          trated in the New York City area in the first place? It was not always so;
          prior to 1916 outbreaks of nonmedical heroin use had been noted in
          Boston, Chicago, and other cities."' One story is that prisoners whose
          coughs were treated with heroin learned that the drug produced euphoria;
          they then passed this information along to friends on the outside, who in
          turn spread the news from one city to another. As a result, by 1915 heroin
          was known in tenderloin districts all over the country.102 Heroin fell into
          disuse, however, except in New York and surrounding cities. Heroin's sur-
          vival in that region was attributable largely to its continued availability.
          Many of the major heroin distributors, such as the Bayer, Merck,
         Schieffelin, and Martin H. Smith companies, were located in New York
          City. Retail druggists in the area would have been well stocked, and it
         would have been easier to divert large amounts of the drug into the illicit
          traffic (by rerouting orders, stealing from warehouses, spiriting imports
         past customs, and so forth) in New York than elsewhere."' In other places
         morphine was more abundant. In Boston, for example, much of the illicit
         traffic consisted of morphine legally exported to Canada, then smuggled
         back across the border.'"
             Addicts and their recruits adapted their requirements to suit the supply.
         One consequence of the temporary eclipse of heroin outside the New
         York City area was that morphine assumed new importance as a euphoric
         agent and as a substitute for smoking opium. In 1917 Leo L. Stanley, resi-
         dent physician at California's San Quentin Prison, asked addicted inmates
         which form of opium they had first used. Of 100 prisoners interviewed,
         58 indicated smoking opium, 20 morphine hypodermically, 8 morphine
         orally, 3 "yen shee" (ashes of smoking opium) orally, and 11 "cocaine and
         laudanum, or eating opium." But when asked which form of the drug they
         had last used, 48 replied morphine hypodermically, 8 morphine orally, 28
         morphine and cocaine, 3 smoking opium, while the remaining 13 used
         "morphine by mouth and syringe together, according to circumstances"
         or took "heroin and laudanum." Morphine thus assumed the place of
         smoking opium in the California underworld.105 By 1917 Massachusetts
         opium smokers had also largely switched to morphine, or morphine and
         cocaine.106 In 1922 C. Edouard Sandoz, medical director of the Boston
         Municipal Court, published a detailed account of addiction in that city.
         Morphine was far and away the opiate of choice: "we rarely see a case of
         heroinism," he reported. Many of the Boston addicts had previously used
         smoking opium, cocaine, and heroin; others drank; still others took to
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                    morphine directly. Injection was the most common method of administra-
                    tion, and other drugs, especially cocaine, were used when available.'" Like
                    their heroin-sniffing counterparts, these addicts were young and were in-
                    troduced to the drug by their associates. They were, in contrast to most
                    nineteenth-century medical addicts, predominately male. To tie in a trend
                    noted earlier, it may well be that the male majorities observed in Cleveland
                    (1915), in Shreveport (1919-1923), and by Kolb (1923) reflect the in-
                    creasing prevalence of this new type of morphine addict.10' As "sporting"
                    addicts were recruited in areas outside New York City, and as older female
                    addicts died off, the shift in sex became more pronounced; a nationwide
                    study of morphine addicts reported for violation of the narcotic laws be-
                    tween July 1 and October 31 of 1929 showed that fully 824 of 1,054 cases
                    (78.2 percent) were mate.'"
                       This state of affairs—heroin sniffers in and around New York City, mor-
                    phine addicts elsewhere—might have persisted were it not for yet another
                    change in the legal status of the opiates and opiate addiction. The source
                    of this change was the 1914 Harrison Narcotic Act. As detailed and schol-
                    arly accounts of the origin, passage, and interpretation of the Harrison Act
                    are available elsewhere,In I shall confine myself here to a brief review of its
                    legislative and judicial history.
                       When Hamilton Wright returned from the 1909 Shanghai Opium
                    Commission, he had two basic goals in mind: the convening of an interna-
                    tional opium conference, which, unlike a commission, would have treaty-
                    drafting powers; and the passage of comprehensive domestic antinarcotic
                    legislation. He achieved the first objective but not the second. Wright
                    eventually was able to persuade Secretary of State Philander C. Knox of
                    the value of an international opium conference, and on September 1,
                    1909, formal invitations and a tentative agenda were sent out to the na-
                    tions that had participated in the Shanghai meeting." The response was
                    less than enthusiastic; many nations had a vested interest in the opium
                    traffic and were reluctant to see international control imposed. After con-
                    siderable delay the conference convened at the Hague on December 1,
                    1911.
                       Meanwhile Wright continued to push for more stringent domestic nar-
                    cotic laws. His main efforts were devoted to the Foster bill, an elaborate
                    measure which, like earlier smoking opium legislation, aimed at indirect
                    control of the traffic through the long-recognized taxing and commerce
                    powers. The Foster bill required those who dealt in narcotics to register,
                    pay a tax, and carefully record all transactions, even of minute amounts.
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          Drug containers, like liquor bottles, would bear a tax stamp, and persons
          who were not registered were barred from shipping narcotics across state
          lines. Penalties for violation were stiff, up to $5,000 and 5 years in prison.
          Further, state and local boards of pharmacy and law enforcement agencies
          would have access to the records. They could thus ascertain who sold how
          much of which drug to whom, information that could prove embarrassing
          to doctors and druggists who were little more than narcotics purveyors
          and that could lead to the better enforcement of existing narcotic laws.
          Wright also argued that the registration and record-keeping provisions
          would soon drive disreputable dealers, such as saloonkeepers and peddlers,
          out of interstate commerce, where they secured the bulk of their sup-
          plies."2 But legitimate manufacturers and dealers countered that the elab-
          orate regulations would hamstring their trade, and for this reason they
         strongly opposed the bill."3 As we have seen, Wright's attempt to bluff the
          bill through in the face of this opposition was a failure.
             So Wright set sail for the Hague without exemplary new narcotic legis-
         lation. He tried to put the best face on things; in a memorandum to the
         conference he explained that passage had been postponed "until all those
         affected shall have been heard. Besides this, there has been such a press of
          business before the Congress since the question of interstate control of co-
         caine, etc., was actively brought before it that action has been delayed.""4
         The polite talk about delay fooled no one. The German delegate asked
         Wright point-blank what guarantee he could give that Congress would
         pass the necessary legislation to put the provisions of the treaty into force.
         This was twisting the knife in the wound, for Wright had done everything
         in his power to get the Foster bill through and had failed. Mortified, he
         nevertheless managed a lofty and dignified reply, "The good faith of the
         United States ought to be a sufficient guarantee that the government
         would carry out all that it had agreed to.""5
            Such incidents did not divert the conference for long, however, and by
         January 23, 1912, agreement was reached. The Hague Opium Conven-
         tion dealt mainly with the international narcotic traffic, but it also pledged
         the contracting powers to promulgate and enforce laws to control the do-
         mestic manufacture and sale of medicinal opium, morphine, heroin, and
         cocaine, and to restrict their consumption to medical and legitimate uses
         only. Although some powers delayed signing the convention and it did not
         actually go into effect until 1914, Wright now believed that Congress had
         a moral and diplomatic obligation to honor the convention by regulating
         the domestic narcotic market."6
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                       The campaign was renewed in June 1912, when a bill similar to the
                    original Foster proposal was introduced into the House. Its sponsor was
                    Congressman Francis Burton Harrison, a genteel New Yorker who agreed
                    to take charge of the legislation after Foster's untimely death on March
                    21, 1912. Again the bill failed to get beyond the House Ways and Means
                    Committee, primarily because Wright refused to incorporate changes de-
                    manded by the drug trades. Harrison tried again in January 1913, with
                    similar results."?
                       Harrison eventually convinced Wright that he would have to negotiate
                    directly with the National Drug Trade Conference (NDTC), an ad hoc
                    lobby charged with keeping careful watch on narcotic legislation. The le-
                    gitimate organizations represented by the NDTC, such as the National
                    Wholesale Druggists' Association, were not opposed in principle to gov-
                    ernment regulation of the narcotic market. Rather, they sought to elimi-
                    nate the provisions of the Harrison bill they considered too stringent. The
                    negotiations began inauspiciously; Wright became so incensed during the
                    first session that he walked out of the meeting. He soon cooled off, how-
                    ever, and discussions resumed. Eventually they were broadened to include
                    officials of the State and Treasury departments, as well as representatives of
                    individual drug companies.
                       By May 1913 a compromise bill had been hammered out, and NDTC
                    representatives John C. Wallace and Charles M. Woodruff signed a state-
                    ment declaring that the new version had their thorough support and ap-
                    proval."8 The concessions won by the drug trades and medical profession
                    can be summarized as follows: chloral and cannabis were dropped from
                    the list of controlled drugs, leaving opium and cocaine, their derivatives
                    and salts; the amount of the proposed tax was reduced to a nominal one
                    dollar; bookkeeping procedures were standardized and simplified; physi-
                    cians in attendance upon a patient could dispense narcotics without mak-
                    ing a record; and preparations containing small amounts of narcotics were
                    exempted from the provisions of the bill. The basic scheme of the original
                    Foster bill remained intact, however. All those who dealt in narcotic drugs
                    were to register with and pay a small tax to their district internal revenue
                    officer, and keep accurate records of their transactions.
                       In June 1913, one month after agreement with the NDTC was reached,
                    Harrison introduced the compromise bill. It took this version less than a
                    week to pass the House. On June 24, the day after it was introduced, it
                    was reported back favorably from the Ways and Means Committee. The
                    report bore witness to Wright's influence: his dramatic statistics were re-
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          peated, as well as his argument that "this government is bound to enact
          legislation to carry out its humanitarian, moral, and international obliga-
          tions."119 During the floor debate Harrison emphasized that the measure
          had at last received the imprimatur of the drug interests.'20 Even so, the
          measure came in for some sharp criticism, particularly section 6, which ex-
          empted nostrums containing small amounts of narcotics. Congressman
          James R. Mann acknowledged the criticism and allowed that narcotic pat-
          ent medicines "probably ought to be abolished." Then he added candidly,
          "Unfortunately I am forced to believe that if we should attempt in this
          way to attack all the proprietary medicines which contain opium, the bill
          would have a rocky road to travel, and would be consigned to oblivion.
          That may not be a very good excuse, but, after all, it is practical."121
             Mann was probably anticipating the bill's fate in the Senate when he
          uttered those words. As the measure made its none-too-rapid progress
          through the upper chamber, a variety of special-interest amendments were
          tacked on. Typical of these was an amendment raising the section 6 heroin
         limit from 12/ 2 grain per ounce to 1/4 grain per ounce. The House objected,
         a conference committee was appointed, and by late October 1914 a com-
         promise had been worked out.'22 The bill was finally signed into law on
         December 17, 1914.
             In many respects the Harrison Act was a classic piece of progressive
         legislation: reform effort (restrict the sale of narcotics) met business self-
         interest (rationalize the narcotic market) to produce a compromise mea-
         sure. Large pharmaceutical firms were perfectly willing to see small-time,
         unregistered peddlers prosecuted; enlightened and professionalized phar-
         macists agreed to restrict sale to those possessing a prescription; and nos-
         trum makers could go on merchandising their wares, provided they con-
         tained no more than the allowable amount of narcotics.
            There was one issue, though, that could not be compromised, and that
         was maintenance. Either opiate addicts could obtain their supply legally, or
         they could not. The law was silent on this crucial point—the words addict
         and addiction appear nowhere in the statute—and there is frustratingly lit-
         tle in any of the hearings, floor debates, and committee reports to indicate
         congressional intent. Nevertheless, the agency first charged with enforcing
         the law, the Internal Revenue Bureau of the Treasury Department, as-
         sumed an aggressive antimaintenance stance. Alleging that a physician
         who issued a prescription to an addict for the sole purpose of maintenance
         was not acting within the bounds of the law, the bureau brought a number
         of indictments against doctors, druggists, and addicts for conspiracy to
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                    violate the Harrison Act. At first the bureau's efforts, notably in Unitea
                    States v. Jin Fuey Moy (1916), were unsuccessful; in that case Justice Oliver
                    Wendell Holmes, Jr., speaking for the seven-man majority, rebuked the
                    government for construing a revenue statute as a sweeping prohibition. In
                    the 1919 Webb case, however, the government managed to reverse the ear-
                    lier decision and obtain a ruling favorable to its antimaintenance policy.'23
                       These laws and decisions had a marked impact on the addict in the
                    street and on the kinds of drugs he used. After the Harrison Act went into
                    effect addicts, as unregistered persons, had to obtain a prescription for
                    their drugs. Increasingly these prescriptions were written by "dope doc-
                    tors," licensed physicians who would for a fee provide the necessary ser-
                    vice. During a single month one New York City doctor "wrote scrip" for
                    68,282 grains of heroin, 54,097 grains of morphine, and 30,280 grains of
                    cocaine.'24 Although addicts might grumble at being gouged by the dope
                    doctors, their only alternative was the black market. Black-market prices
                    were up sharply, however, since unregistered dealers ran significant risks of
                    prosecution and since it was now much more difficult to obtain sizable
                    shipments from legitimate manufacturers.125
                       The situation deteriorated further during 1919 to 1921, in the wake
                    of the Webb decision and the closure of many of the hastily organized
                    narcotic clinics. Some addicts, particularly those in rural areas and those
                    suffering from chronic and incurable diseases, were still able to obtain
                    morphine on a legal or quasi-legal basis.'26 But a growing number of other
                    users, particularly nonmedical addicts living in large cities, were forced to
                    rely on illegal purchases.
                       Heroin was the illicit opiate par excellence. It spread throughout the
                    country during the 1920s and 1930s because dealers and their customers
                    came to appreciate its black-market virtues. From the dealer's point of
                    view, the principal advantage was the ease with which heroin could be
                    adulterated. Profits could be doubled or quadrupled by cutting heroin
                    with milk sugar or a similar substance. "I have known of instances," wrote
                    one New York official, "where the addict has paid at the rate of a dollar a
                    grain and would get six-tenths of a grain, and many more instances where
                    he would be sold nothing but pure sugar of milk."127 By 1938 heroin sold
                    in the United States was on average only 27.5 percent pure—very potent
                    by later standards, but considered highly diluted by a generation of addicts
                    accustomed to purer drugs.'28 The fact that heroin, prior to adulteration,
                    is a powerful yet compact substance also made it an ideal item for smug-
                    gling. In 1924 Congress, concerned with the youthfulness and alleged
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          violence of heroin addicts and desiring to set an international precedent,
          effectively outlawed domestic use of the drug;129 yet even this drastic
          measure failed to stem the illicit traffic. "In fact," commented Narcotic In-
          spector Samuel L. Rakusin two years after the heroin ban, "it seems that it
          is more plentiful at this time than it ever was before."H°
             If dealers were eager to supply heroin, addicts were generally willing to
          purchase it. Heroin was, in the first place, considerably cheaper than mor-
          phine. A survey of illicit narcotic prices in fifteen major cities in 1934
          showed that the wholesale price of morphine ranged from $50.00 to
          $150.00 per ounce, whereas heroin sold for $17.50 to $90.00. The per
          grain or street price of heroin was lower than that of morphine in every
          city where direct comparison was possible."' Not only was heroin less ex-
          pensive, it was also stronger and faster acting than morphine when admin-
         istered in a comparable manner."2 Even though it was adulterated, heroin
          was "cheaper for the amount of kick in it," as one narcotic agent phrased
         it." Finally, heroin could be injected or sniffed, the latter method appeal-
         ing to new or potential users who might be needle-shy."4
             In spite of these several advantages, the diffusion of heroin was a gradual
          process. Addicts, like everyone else, developed their preferences and idio-
         syncracies; changing to a new drug was not always casual or easy. Still, with
          the prospect of withdrawal before them and the price differential between
         morphine and heroin steadily increasing, even the most reluctant users
         eventually switched to the cheaper and more powerful opiate. In geo-
         graphic terms, the diffusion of heroin is best described as radiation out-
         ward from New York City. By the mid-1920s growing numbers of users
         were observed in coastal cities running north and south of New York."5
         Heroin was also spreading westward, through Pennsylvania, Ohio, Illi-
         nois, and into the Midwest. Figure 7 maps heroin seizures for two calen-
         dar years, 1927 and 1928. The heaviest concentration was along the East
         Coast, from Washington, D.C., to Boston, but it can be seen that heroin
         use was extending through the Great Lakes region and beyond."36 The
         process continued until, in 1932, the Bureau of Narcotics officially de-
         clared that "heroin has supplanted morphine to a considerable degree as
         the drug of addiction in every part of the United States except on the
         Pacific Coast."137 That generalization was perhaps too sweeping—there
         were still in 1932 a great many southern morphine addicts—but on the
         whole the bureau had appraised the situation correctly.
             Relative seizures of narcotic drugs are another index of heroin's grow-
         ing importance. In fiscal 1927, 4.0 pounds of morphine for every pound
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                                                                                                                                       vra
                                                                                                                               Mass.




                                                                                                                                       asiprJEJ
                                                                                                                             N.J.

                                                                                                                            Del.

                                                                                                                        Md.

                                                                                                                     D.C.




         1—INEF-- 1+ ounce seized
           1-1Ew-- 24 grains-1 ounce seized
            0--o— 1-24 grains seized



 Figure 7 Heroin seizures in the United States, calendar years 1927 and 1928. Source: Extractsfrom the Report of the Commissioner of
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          of heroin were seized under federal internal revenue laws. By 1932, how-
          ever, 3.4 pounds of heroin were seized for every pound of morphine, and
          by 1938 the heroin-to-morphine ratio"' was 7.7 to 1. So scarce did mor-
          phine become that specialists in the pharmacology of opium alkaloids,
         who normally received a free supply of confiscated morphine for their ex-
          periments, began to run low. One prominent researcher, Lyndon F. Small,
         was warned that desperate addicts were beginning to raid legitimate sup-
          plies and that henceforth any morphine furnished for his research would
          be sent by Treasury Department courier, rather than through the mails."9
             Another important development, paralleling the growing importance of
         heroin as a black-market opiate, was the diffusion of the hypodermic tech-
         nique among heroin addicts. A user who had begun sniffing heroin in
         1910 to 1915 would likely have been injecting it by 1920 to 1925. Con-
         tinuous inhalation of heroin, particularly if taken with cocaine, seriously
         damages the nasal septum;140 hence alternative routes must be sought. Ad-
         dicts were also drawn to the hypodermic as a more convenient way of ad-
         ministering increasingly large doses and as a way of enhancing the drug's
         effect. The quickest and most euphorigenic route of all is the intravenous,
         and sometime in the early 1920s addicts learned to inject heroin directly
         into their veins. This technique probably began accidentally when an ad-
         dict hit a vein and, after his initial fright wore off, discovered that this
         method was even more pleasurable than subcutaneous or intramuscular
         injection. He then passed this information on to his companions.'4'
            Another motive for intravenous use was the steadily declining purity of
         street heroin during the 1930s. The official explanation for heavier adul-
         teration was the tightening of international restrictions on heroin produc-
         tion in 1930 to 1932.142 At the same time an aggressive new generation of
         Italian gangsters began infiltrating the drug traffic, replacing other groups,
         notably the Jews. The Jewish dealers had a reputation for being "business-
         men," that is, they distributed a decent product, made a high but not
         exorbitant profit, and sought to maintain steady relations with their cus-
         tomers. However, they and other distributors were driven out of business
         through a variety of strong-arm tactics. Recalled one former Times Square
         dealer:

           They'd find 'em in the East River if they kept selling it . . . We had a
           lot of kids on the East Side [killed] . . . as soon as the wops found out
           that they was selling against their orders not to sell . . . They'd put
           you out, they wanted their man there, see, they had their man . . .
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                     They took your customer away; to get 'em, they'd say, "What does he
                     charge ya? 10? Here, we give it to ya for 5."—You lost 'em! But the
                     dopey bastard don't know that soon as I'm out of business, they'll
                     charge 'em 20 for what I give 'em for 10.143

                   Not only did the price increase, but the level of adulteration as well.
                   "When the Chinese and the Jews had it, it was beautiful," remarked an-
                   other former dealer. "But when the Italians got it—bah! They messed it all
                   up . . . They started thinking people were just a herd of animals—just give
                   them anything."144 Precisely how much of this adulteration was due to
                   growing Italian involvement and how much to new international restric-
                   tions is uncertain. It is certain, however, that many addicts, in order to
                   derive maximum satisfaction from an increasingly diluted drug, began re-
                   sorting to the most drastic and direct route of administration. As one ad-
                   dict, who turned to intravenous use around 1932, succinctly put it, "You
                   didn't need no vein until they cut it." This user, described only as a white
                   man from New York City, had a particularly interesting history, for he
                   exemplified the changes the nonmedical opiate addict underwent in the
                   early twentieth century. He learned to smoke opium fairly late, in 1912, at
                   the age of 16. In 1914 he shifted briefly to oral use, then began to sniff
                   heroin and cocaine in 1915. In 1922 he and his companions turned to
                   subcutaneous injection, and then, 10 years later, to intravenous. The drug
                   injected was heroin, or heroin with cocaine.'45
                      The drift to the needle was in evidence as early as 1917, when Charles
                   Stokes noted that 10 of 18 heroin patients treated at Bellevue in New York
                   employed the hypodermic technique.146 Of 37 heroin users examined in
                   1918 at Camp Upton, New York, 24 used a hypodermic, 8 sniffed the
                   drug, and 5 used both routes.'47 A thorough study of 318 institutional-
                   ized addicts conducted in New York City in 1928-1929 showed that of
                   263 heroin cases, 251 used the drug subcutaneously, 11 intravenously,
                   and 1 orally. Only 2 instances of sniffing were reported, even though
                   sniffing was the most common manner in which the addict first used the
                   drug.148 A 1929 study of addicts in Philadelphia General Hospital's nar-
                   cotic wards yielded similar findings: 80.0 percent of the patients used her-
                   oin prior to admission, the majority hypodermically, except for "several
                   cases of sniffing and . . . two in which self-intravenous administration was
                   employed."149 The intravenous route continued to gain in popularity dur-
                   ing the 1930s; by 1940 a majority of addicts admitted to the Lexington
                   Hospital had a prior history of intravenous use.'5°
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            The transformation of the nonmedical user from opium smoker to her-
          oin mainliner was more than just a statistical trend, however; it was an
          event of incalculable physical and financial cost to the addict. Not only did
          he have to pay more for a drug of unknown strength and purity, but
          the health risks of injection—especially intravenous injection—were much
          greater than those involved with opium smoking. Too many addicts ended
          up like "Slim Wicket," an informer described in the memoirs of under-
          cover narcotic agent Maurice Helbrant:
            He shot himself every which way, in a vein sometimes, in any part of
            his body . . . He took his shots in my presence without any shame or
            modesty. It always made me wince, and still does: I never became
            hardened to the sight of it. He undressed for bed with equal indiffer-
            ence to what I saw—grimy underwear and an unwashed body (for ad-
            dicts become indifferent to such things, even if they still try to keep
            up a decent appearance on the outside), and worse, the punctures in
            his skin, work of the needle, hundreds of them, some caked or fester-
            ing, the skin of his upper arms literally in ribbons.151
          Sepsis of every imaginable variety, hepatitis, endocarditis, emboli, tetanus,
          overdose, and early death; these were the consequences of the needle, and
          no small part of the damage done.'52

         Heroin addiction was originally iatrogenic in nature, the unexpected and
         unwanted by-product of treatment for respiratory disease. Although doc-
         tors eventually abandoned their use of the drug, it became popular after
         1910 as a euphoric agent. Legal pressures on smoking opium and cocaine
         were important factors behind this early nonmedical use. Later, when the
         majority of addicts had been effectively denied access to legal opiates, her-
         oin use spread—principally because it was the opiate most suitable for
         black-market distribution. In addition to a change in the geographic dis-
         tribution of heroin addicts, from the New York City area to cities scattered
         throughout the country, there was a change in the method of admin-
         istration: sniffing gave way to subcutaneous or intramuscular injection,
         which in turn gave way to intravenous. By 1940 the heroin mainliner had
         emerged as the dominant underworld addict type.
